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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 IN RE ALLERGAN GENERIC DRUG PRICING Case No. 2:16-cv-09449 (KSH) (CLW)
 SECURITIES LITIGATION
                                               JOINT DECLARATION OF
                                               MATTHEW L. MUSTOKOFF AND
                                               JOHN C. BROWNE IN SUPPORT OF
                                               (A) LEAD PLAINTIFFS’ MOTION
                                               FOR FINAL APPROVAL OF
                                               SETTLEMENT AND PLAN OF
                                               ALLOCATION; AND (B) LEAD
                                               COUNSEL’S MOTION FOR AN
                                               AWARD OF ATTORNEYS’ FEES
                                               AND LITIGATION EXPENSES
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       We, MATTHEW L. MUSTOKOFF and JOHN C. BROWNE, declare as follows pursuant

to 28 U.S.C. § 1746:

       1.      We, Matthew L Mustokoff and John C. Browne, are partners of the law firms of

Kessler Topaz Meltzer & Check, LLP (“Kessler Topaz”) and Bernstein Litowitz Berger &

Grossmann LLP (“Bernstein Litowitz”), respectively.1 Kessler Topaz and Bernstein Litowitz

(together, Court-appointed “Lead Counsel”) represent plaintiffs Sjunde AP-Fonden (“AP7”) and

Union Asset Management Holding AG (“Union,” and together with AP7, Court-appointed “Lead

Plaintiffs”) in this securities class action lawsuit (“Action”). We have personal knowledge of the

matters set forth herein based on our active supervision of and participation in the prosecution and

resolution of the Action.

       2.      We respectfully submit this Joint Declaration in support of Lead Plaintiffs’ motion

pursuant to Rule 23(e) of the Federal Rules of Civil Procedure (“Federal Rules” or “Rules”) for

final approval of the proposed settlement with defendants Allergan plc (before June 15, 2015,

known as Actavis plc) (Allergan plc and Actavis plc, collectively, “Allergan” or the “Company”),

Paul Bisaro, Brenton L. Saunders, Maria Teresa Hilado, R. Todd Joyce, Sigurdur O. Olafsson,

David A. Buchen, James H. Bloem, Christopher W. Bodine, Tamar D. Howson, John A. King,

Ph.D, Catherine M. Klema, Jiri Michal, Jack Michelson, Patrick J. O’Sullivan, Ronald R. Taylor,

Andrew L. Turner, Fred G. Weiss, Nesli Basgoz, M.D., and Christopher J. Coughlin (collectively,

“Defendants”) for $130,000,000 in cash (“Settlement”). If approved, the Settlement will resolve

all claims asserted in the Action against Defendants on behalf of the Settlement Class, consisting




1
  Capitalized terms that are not defined in this Joint Declaration have the same meanings as set
forth in the Stipulation and Agreement of Settlement dated as of July 8, 2021 (ECF No. 223-1)
(“Stipulation”).



                                                 1
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of all persons and entities who purchased or otherwise acquired the common and/or preferred stock

of Allergan during the period between October 29, 2013 and November 2, 2016, both dates

inclusive (“Class Period”), and were damaged thereby.2 The Court preliminarily approved the

Settlement and directed notice thereof to the Settlement Class by Order dated July 30, 2021 (ECF

No. 228) (“Preliminary Approval Order”).

       3.      We also respectfully submit this Joint Declaration in support of: (i) the proposed

plan for allocating the net proceeds of the Settlement to eligible Settlement Class Members (“Plan

of Allocation”); and (ii) Lead Counsel’s motion, on behalf of Plaintiffs’ Counsel,3 for an award of

attorneys’ fees in the amount of 23.8% of the Settlement Fund;4 payment of litigation expenses

incurred by Plaintiffs’ Counsel in the total amount of $2,473,243.51; and, in accordance with the

Private Securities Litigation Reform Act of 1995 (“PSLRA”), payment of $84,850.00 in the


2
  The Settlement Class includes: (i) all persons and entities who held Forest Laboratories, Inc.
(“Forest”) common stock as of May 2, 2014, and were entitled to vote on the merger between
Actavis plc and Forest (the “Forest Merger”), and acquired shares of Allergan common stock in
the Forest Merger and were damaged thereby; and (ii) all persons and entities who held Allergan,
Inc. common stock as of January 22, 2015, and were entitled to vote on the merger between Actavis
plc and Allergan, Inc. (the “Actavis Merger”), and acquired shares of Allergan common stock in
the Actavis Merger and were damaged thereby. Excluded from the Settlement Class are: (i)
Defendants; (ii) members of the immediate families of the Individual Defendants; (iii) the
Company’s parents, subsidiaries, and affiliates; (iv) any person who currently is, or was during the
Class Period, an officer or director of the Company or any of the Company’s parents, subsidiaries,
or affiliates and members of the immediate families of such officers and directors; (v) any entity
in which any Defendant currently has, or had during the Class Period, a controlling interest; and
(vi) the legal representatives, agents, affiliates, heirs, successors, and assigns of any such excluded
person or entity. Also excluded from the Settlement Class are any persons or entities who submit
a request for exclusion from the Settlement Class that is approved by the Court.
3
  Plaintiffs’ Counsel refers collectively to: (i) Lead Counsel Kessler Topaz and Bernstein Litowitz;
(ii) Court-appointed Liaison Counsel Carella, Byrne, Cecchi, Olstein, Brody & Agnello, P.C.
(“Carella Byrne”); and (iii) additional counsel The Rosen Law Firm P.A. (“Rosen Law”) and
Motley Rice LLC (“Motley Rice”).
4
  The 23.8% fee request represents a blended rate of 25% of the first $100 million of the $130
million Settlement Amount and 20% of the remaining $30 million of the Settlement Amount,
rounded down from 23.846%.



                                                  2
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aggregate to Lead Plaintiffs for costs incurred in connection with their representation of the

Settlement Class (“Fee and Expense Application”).

       4.      For the reasons discussed below and in the accompanying memoranda,5 we, on

behalf of Lead Counsel, respectfully submit that: (i) the terms of the Settlement are fair, reasonable,

and adequate in all respects and should be approved by the Court; (ii) the proposed Plan of

Allocation is fair, reasonable, and adequate and should be approved by the Court; and (iii) the Fee

and Expense Application is fair, reasonable, supported by the facts and the law, and should be

granted in all respects.6 Moreover, the Settlement, Plan of Allocation, and Fee and Expense

Application have the full support of Lead Plaintiffs—two sophisticated, institutional investors that

have actively supervised the Action since its inception. See Declaration of Richard A. Gröttheim

on behalf of AP7 (“Gröttheim Decl.”); Declaration of Jochen Riechwald on behalf of Union

(“Riechwald Decl.”), attached hereto as Exhibits 1 and 2, respectively.

I.     INTRODUCTION

       5.      Following more than four years of hard-fought litigation as well as protracted,

arm’s-length negotiations facilitated by an experienced mediator, Lead Plaintiffs and Lead

Counsel have succeeded in obtaining a significant common-fund recovery in the amount of $130

million in cash (“Settlement Amount”) for the benefit of the Settlement Class.7 As provided in the

Stipulation, in exchange for this substantial consideration, the Settlement resolves all claims


5
 In conjunction with this Joint Declaration, Lead Plaintiffs and Lead Counsel are submitting the
Memorandum of Law in Support of Lead Plaintiffs’ Motion for Final Approval of Settlement and
Plan of Allocation (“Settlement Memorandum”) and the Memorandum of Law in Support of Lead
Counsel’s Motion for an Award of Attorneys’ Fees and Litigation Expenses (“Fee
Memorandum”).
6
  As consented to by the Parties, the Court has referred all settlement proceedings in this Action,
including entry of the final judgment, to Magistrate Judge Cathy L. Waldor. ECF No. 225.
7
 Pursuant to the terms of the Stipulation and the Preliminary Approval Order, the Settlement
Amount has been fully funded, and is currently being held in the interest-bearing Escrow Account.


                                                  3
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asserted in the Action (and related claims) by Lead Plaintiffs and the Settlement Class against

Defendants and the other Defendants’ Releasees. The Settlement represents a significant portion

of the Settlement Class’s potential recoverable damages. See infra ¶¶ 10, 104. Moreover, to Lead

Counsel’s knowledge, this Settlement is the first to be achieved among the federal securities cases

arising from the antitrust allegations at issue in the Action, which date back over half a decade. It

is an outstanding result for the Settlement Class.

        6.       Until a resolution was reached in June 2021, this Action was actively and

vigorously litigated by the Parties. At the time of settlement, Lead Counsel had, among other

things, researched and prepared two detailed complaints, briefed two motions to dismiss and a

class certification motion, completed substantial, hard-fought fact discovery—including the

review and analysis of over 2.6 million pages of documents, and twenty fact depositions—and

were on the verge of exchanging merits expert reports with Defendants. The Settlement is the

product of arm’s-length negotiations, including a formal mediation before former United States

District Judge Layn R. Phillips (“Judge Phillips”), who ultimately made a mediator’s

recommendation to resolve the Action for a cash payment of $130 million that the Parties accepted.

See infra ¶¶ 55-57.8

        7.       In deciding to settle the Action, Lead Plaintiffs and Lead Counsel carefully

considered the significant risks associated with advancing their case through a ruling on class

certification, the completion of expert discovery, summary judgment, trial, and the inevitable post-

trial appeals.




8
  See also Declaration of Layn R. Phillips in Support of Motion for Final Approval of Settlement
(“Phillips Decl”) attached hereto as Exhibit 3.


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       8.      Here, even if Lead Plaintiffs succeeded on their motion for class certification

(“Class Certification Motion”), which was pending at the time of settlement, Lead Plaintiffs faced

considerable challenges to their ability to prove Defendants’ liability, as well as loss causation and

the Settlement Class’s full amount of damages, if the Action continued. At summary judgment and

trial, Defendants would have argued forcefully, as they did at the motion-to-dismiss stage, that, in

order to establish liability, Lead Plaintiffs would have had to prove an underlying antirust

conspiracy against Allergan as a predicate to establishing any alleged securities law violations.

Defendants would further have argued that Lead Plaintiffs could not prove that Allergan engaged

in any anti-competitive misconduct—and that, in any event, even if such misconduct occurred,

Lead Plaintiffs could not establish scienter because the Individual Defendants knew nothing about

the alleged anti-competitive conduct and had no reason to believe that Allergan was colluding with

its competitors.

       9.      In addition to the risks associated with establishing Defendants’ liability, Lead

Plaintiff faced substantial challenges in proving loss causation and the Settlement Class’s full

amount of damages. Lead Plaintiffs alleged that Allergan’s stock price declined, causing

substantial damages to Allergan’s shareholders, following “corrective disclosures” on two dates:

(i) August 6, 2015, when Allergan announced its receipt of a federal grand jury subpoena from the

U.S. Department of Justice Antitrust Division (“DOJ”) in connection with the government’s

investigation of price-fixing in the generic drug markets; and (ii) November 3, 2016, when an

article in Bloomberg revealed that the DOJ’s investigation had intensified and criminal charges

were likely. Defendants would have vigorously asserted, as they did throughout the Action, that

Lead Plaintiffs would be unable to establish loss causation as to either of the two alleged corrective

disclosures because each revealed, at most, that Allergan was part of an investigation of




                                                  5
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collusion—not that it had been found to have engaged in such misconduct, or even was the focus

of such investigation. To support this argument, among other things, Defendants would have

underscored the fact that, to date, Allergan has not been criminally charged or found to have

committed antitrust violations in connection with the sale of generic drugs during the Class Period.

In addition to attacking each of the corrective disclosures on multiple bases (see infra ¶¶ 79-81),

Defendants would have argued that, even if Allergan employees engaged in antitrust activities,

any impact on Allergan’s business was miniscule, particularly in light of Allergan’s size, and,

therefore that the revelation of the “truth” about any antitrust violations could not have caused the

significant investment losses alleged by Lead Plaintiffs.

       10.     Particularly, when viewed in the context of such risks and the delays of continued

litigation, the Settlement is an excellent result for the Settlement Class. Indeed, accepting certain

(but not all) of Defendants’ loss causation and damages arguments concerning the first and second

alleged corrective disclosures, the Settlement Amount of $130 million represents between 13.4%

and 23.4% of the maximum damages that could be realistically established at trial, as estimated by

Lead Plaintiffs’ damages consultant.9 See infra ¶ 104. Importantly, this is before considering

myriad risks to liability involving materiality, falsity, and scienter—any one of which could have

resulted in investors recovering less than the Settlement Amount, or nothing at all.

       11.     To put the significance of this recovery into the appropriate context, economic

consulting experts at Cornerstone Research have determined that, in cases with estimated damages



9
  The $130 million Settlement represents 13.4% of potentially recoverable damages if Defendants
were to have succeeded in eliminating the second alleged corrective disclosure, and represents
23.4% of recoverable damages if, in addition, Defendants were to have succeeded in convincing
the factfinder that half of the decline associated with the first alleged corrective disclosure was not
fraud-related.



                                                  6
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 between $500 and $999 million, the median securities class action settlement amount was 2.6% of

 estimated damages in 2020, and 3.3% of estimated damages for the years 2011 through 2019.10

 Had Lead Plaintiffs reached a settlement in this median recovery range, the Court would be

 evaluating a settlement somewhere between $14 million and $32 million—not the $130 million

 Settlement obtained here.

        12.     Lead Counsel have worked with the Court-authorized Claims Administrator, A.B.

 Data, Ltd. (“A.B. Data”), to disseminate notice of the Settlement to Settlement Class Members as

 directed in the Preliminary Approval Order. In this regard, A.B. Data has mailed over one million

 copies of the Notice and Claim Form (together, the “Notice Packet”) to Settlement Class Members

 and nominees.11 Additionally, A.B. Data has posted the Notice and Claim Form, along with other

 relevant documents, on the website www.AllerganDrugPricingSecuritiesLitigation.com, and has

 caused the Summary Notice to be published in The Wall Street Journal and transmitted over PR

 Newswire. Walter Decl., ¶¶ 9, 11. As ordered by the Court and stated in the notices, objections and

 requests for exclusion from the Settlement Class are due no later than October 27, 2021. To date,

 only one potential, generalized objection to Lead Counsel’s fee and expense request has been




 10
   See Laarni T. Bulan & Laura E. Simmons, Securities Class Action Settlements: 2020 Review
 and Analysis, Cornerstone Research, 6 (2021), www.cornerstone.com/Publications/Reports/
 Securities-Class-Action-Settlements-2020-Review-and-Analysis, a copy of which is attached
 hereto as Exhibit 8 (“Cornerstone Research”).
 11
    See Declaration of Adam D. Walter Regarding: (A) Mailing of the Notice and Claim Form; (B)
 Publication of the Summary Notice; and (C) Report on Requests for Exclusion Received to Date,
 attached hereto as Exhibit 4 (“Walter Decl.”), at ¶ 8.



                                                 7
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 received.12 There have been no objections to the Settlement and Plan of Allocation and there have

 been no requests for exclusion from the Settlement Class.13

 II.    SUMMARY OF LEAD PLAINTIFFS’ CLAIMS

        13.     Allergan is a specialty pharmaceutical company that develops, manufactures,

 markets, and distributes medical aesthetics, biosimilar, and over-the-counter pharmaceutical

 products worldwide. This Action arises out of Allergan’s participation in an overarching generic

 drug price-fixing conspiracy that is the focus of investigations by Congress, the DOJ, and several

 state Attorneys General. ¶ 2. The Settlement Class’s claims in the Action are set forth in the

 Consolidated Second Amended Class Action Complaint (ECF No. 82) (the “Complaint” or

 “Second Amended Complaint”).14

        14.     The Complaint alleges that during the Class Period, Allergan was a central

 participant in a massive cartel that fixed the prices of generic drugs sold in the U.S. More

 specifically, the Complaint alleges that, beginning in the first half of 2013, Allergan entered into

 and maintained price-fixing agreements with other major generic drug makers, following years of

 stable prices. ¶¶ 5-7, 107-16, 126-29, 140-49, 159-62. The Complaint alleges that these agreements

 led to astronomical price increases which typically followed industry meetings attended by senior



 12
    The only objection received to date was submitted by Dr. Stephen Francis Schoeman
 (“Schoeman Objection”). See Exhibit 10 attached hereto. As discussed in the accompanying Fee
 Memorandum, Dr. Schoeman’s primary complaint is that the Notice does not provide enough
 detail regarding counsel’s fee and expense request. That complaint, however, is resolved by the
 detailed lodestar and expense information that is being submitted to the Court today in accordance
 with the Preliminary Approval Order. Of further note, Dr. Schoeman has not provided any
 documentation or supporting evidence to establish his membership in the Settlement Class—a
 threshold standing requirement to object.
 13
    Lead Plaintiffs and Lead Counsel will further address Dr. Schoeman’s objection and any
 additional objections received after this submission and any requests for exclusion from the
 Settlement Class in their reply to be filed on or before November 10, 2021.
 14
    All references to “¶ __” in this Section are to the Complaint.


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 executives from Allergan and its competitors. ¶¶ 21, 25, 83, 105, 110, 113, 116, 129, 149, 162,

 188-89. The Complaint also alleges that Allergan and its co-conspirators had numerous

 opportunities to collude, including at industry meetings, trade shows, and private “industry

 dinners” among high-level executives. Id. The Complaint further alleges that collusion also

 occurred via telephone calls and text messages, records of which were provided to the Attorneys

 General of Connecticut, New Jersey, and forty-two other states and described in complaints they

 filed alleging antitrust claims against Allergan and other generic pharmaceutical companies.

 ¶¶ 171-79.

        15.     Lead Plaintiffs allege that Defendants misled Allergan’s shareholders about the

 Company’s role in the conspiracy in several ways, including by: (i) issuing multiple statements

 that misled investors into believing that Allergan’s profits in the generic drug markets were

 legitimately (and legally) increasing (see, e.g., ¶¶ 195-96, 221); (ii) misrepresenting that Allergan

 actively competed in the generic drug markets when, in fact, Allergan was colluding with its

 purported competitors to artificially inflate drug prices, to the direct detriment of consumers (see,

 e.g., ¶¶ 195, 197, 199, 201, 209, 211, 219); (iii) misleading investors about Allergan’s compliance

 with antitrust laws and policies prohibiting anti-competitive behavior (see, e.g., ¶ 232); and (iv)

 continuing to mislead the market about the drivers of the Company’s revenues and the risks

 associated with the DOJ investigation after Allergan disclosed that it had been served with a federal

 grand jury subpoena in 2015 (see, e.g., ¶¶ 213-19).

        16.     Lead Plaintiffs allege that the truth about Allergan’s anti-competitive conduct

 began to come to light on August 6, 2015, when Allergan disclosed that the DOJ had served the

 Company with a grand jury subpoena seeking information on its generic drug pricing (see ¶¶ 234-

 36), and was fully revealed more than a year later, on November 3, 2016, when investors learned




                                                  9
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 that the DOJ’s investigation had intensified and gathered enough evidence of criminality such that

 charges could be filed against Allergan and other co-conspirators, and the media reported that

 “U.S. prosecutors are bearing down on generic pharmaceutical companies in a sweeping criminal

 investigation into suspected price collusion.” ¶ 239. Each of these disclosures was associated with

 substantial declines in Allergan’s stock price, causing damage to Settlement Class Members.

 ¶¶ 237, 240-41.15 This lawsuit followed.

 III.   PROCEDURAL HISTORY OF THE ACTION AND PLAINTIFFS’ COUNSEL’S
        LITIGATION EFFORTS

        A.      Commencement of the Action and Appointment of Lead Plaintiffs and Lead
                Counsel

        17.     On December 22, 2016, the first securities class action complaint, captioned Forden

 v. Allergan plc, et al., Case No. 2:16-cv-09449-SDW-LDW, was filed in the United States District

 Court for the District of New Jersey on behalf of a putative class of investors who purchased or

 otherwise acquired the securities of Allergan between February 25, 2014 and November 2, 2016.

 ECF No. 1. The initial complaint asserted claims under Sections 10(b) and 20(a) of the Securities

 Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5 promulgated thereunder, against Allergan

 and certain of its senior officers and executives.

        18.     On January 3, 2017, AP7 and Union (as well as others) moved to be appointed as

 lead plaintiff. ECF Nos. 3-13. On February 1, 2017, the Court appointed AP7 and Union as Lead

 Plaintiffs and approved their selection of Kessler Topaz and Motley Rice as Co-Lead Counsel and



 15
   In response to the news on August 6, 2015, Allergan’s common stock price fell $17.17 per share,
 or approximately 5%, from its previous closing price to close at $319.47 per share on August 6,
 2015, and its preferred stock price fell $39.24 per share, or approximately 3.5%, from its previous
 closing price to close at $1,084.00 per share on August 6, 2015. ¶ 237. In response to the news on
 November 3, 2016, Allergan’s common share price fell $9.07, or approximately 4.6%, to close at
 $188.82 on November 3, 2016, and its preferred share price fell $30.03, or approximately 4.1%,
 to close at $708.45 on November 3, 2016. ¶ 240


                                                  10
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 Carella Byrne as Liaison Counsel. ECF No. 24. Pursuant to Stipulation and Order Substituting

 Lead Counsel dated May 17, 2017, Bernstein Litowitz subsequently replaced Motley Rice as one

 of the Co-Lead Counsel firms in the Action. ECF No. 42.

        19.     Following the appointment of Lead Plaintiffs, the Court set a deadline of May 1,

 2017 for Lead Plaintiffs to file an amended complaint. ECF No. 29.

        B.      Lead Plaintiffs’ Investigation and Filing of First Amended Complaint

        20.     Prior to filing the Consolidated Amended Class Action Complaint (ECF No. 36)

 (“First Amended Complaint”), Lead Counsel conducted an exhaustive investigation into the facts

 underlying this Action. As part of their investigation, Lead Counsel reviewed voluminous publicly

 available information regarding Defendants, including: (i) conference calls and announcements

 made by Defendants; (ii) Allergan’s filings with the United States Securities and Exchange

 Commission (“SEC”); (iii) wire and press releases published by and regarding Allergan; (iv)

 analysts’ reports and advisories about the Company; (v) IMS pricing data for various generic

 drugs; (vi) various civil complaints alleging violations of federal and state antitrust and unfair

 competition laws by Allergan and/or certain of its subsidiaries; and (vii) information readily

 obtainable on the Internet. In addition, Lead Counsel, through and in conjunction with their in-

 house investigators, located and conducted interviews with witnesses believed to potentially have

 information about the claims at issue in the Action, including former Allergan employees. Lead

 Counsel also retained and consulted extensively with an expert in antitrust matters in order to

 navigate the complicated antirust claims related to the Action. Prior to filing the First Amended

 Complaint, Lead Counsel also performed extensive legal research to carefully evaluate exactly

 which theories of liability Lead Plaintiffs could allege and how to allege them.

        21.     Based upon Lead Counsel’s thorough investigation, Lead Plaintiffs filed the 112-

 page First Amended Complaint on May 1, 2017 against Defendants. ECF No. 36. The First


                                                 11
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 Amended Complaint detailed Defendants’ alleged violations of Sections 10(b), 14(a), and 20(a) of

 the Exchange Act, and the rules and regulations promulgated thereunder, including Rule 10b-5

 and SEC Rule 14a-9.

        C.        Defendants’ Motion to Dismiss the First Amended Complaint

        22.       On July 17, 2017, Defendants moved to dismiss the First Amended Complaint in

 its entirety pursuant to Federal Rule 12(b)(6). ECF No. 59. In their motion to dismiss, Defendants

 argued that the First Amended Complaint failed to describe any misrepresentations to investors,

 included no allegations indicating an intention to mislead investors, and identified no harm to

 investors. Among other things, Defendants specifically asserted that:

                 Lead Plaintiffs failed to plead any material misrepresentations or omissions, as
                  Allergan was under no generalized duty to disclose un-adjudicated allegations of
                  price-fixing, its “failure” to do so was not an actionable omission under Section
                  10(b), and the proceeds of any alleged antitrust activity were quantitatively
                  immaterial to Allergan;

                 Lead Plaintiffs’ allegations failed to raise a “strong inference of scienter” as
                  required by the PSLRA, as many of Lead Plaintiffs’ allegations were misdirected
                  (i.e., they purported to show an intent to engage in price-fixing, as opposed to an
                  intent to mislead investors), and all of the allegations rested on assumption and
                  speculation;

                 Lead Plaintiffs failed to adequately plead loss causation, and the public records
                  Lead Plaintiffs’ pointed to as disclosing the “truth” of Actavis plc’s involvement in
                  price-fixing did no such thing;

                 Lead Plaintiffs’ Section 20(a) claim should be dismissed because there was no
                  viable underlying Section 10(b) claim as well as no allegations of culpable
                  participation by the Individual Defendants;

                 Lead Plaintiffs’ Section 14(a) claims should be dismissed as they did not identify
                  specific misstatements or describe how they were false, but rather made generalized
                  assertions that Allergan’s proxy statements were misleading; and

                 Lead Plaintiffs’ claims on behalf of preferred shareholders should be dismissed
                  because neither Lead Plaintiff was alleged to have purchased preferred shares.




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        23.        Upon receiving Defendants’ motion to dismiss the First Amended Complaint, Lead

 Counsel reviewed and analyzed the supporting briefing, accompanying exhibits, and the legal

 authority cited therein. Lead Counsel also conducted additional legal research into Defendants’

 arguments and Lead Plaintiffs’ responses thereto. On September 15, 2017, Lead Plaintiffs filed

 their opposition to Defendants’ motion to dismiss. ECF No. 67. In this filing, Lead Plaintiffs

 argued that:

                  The First Amended Complaint contained particularized allegations of numerous
                   false statements relating to, other things: (i) Allergan’s pricing and competition; (ii)
                   Allergan’s financial results (which were allegedly inflated by Defendants’ anti-
                   competitive practices); and (iii) the supposedly legitimate sources of Allergan’s
                   revenues;

                  The First Amended Complaint contained detailed allegations of parallel price
                   movements in the price-fixed drugs (Propranolol, Ursodiol, Doxycycline, and
                   Desonide), and contained similarly detailed allegations supporting the “plus
                   factors” that allow a fact-finder to infer a conspiracy;

                  The First Amended Complaint particularized facts giving rise to a strong inference
                   that the Individual Defendants (each of whom, as Lead Plaintiffs alleged, made
                   false statements) either knew about Allergan’s participation in the vast price-fixing
                   conspiracy, or were reckless in not knowing, and acted with the requisite scienter;
                   and

                  Defendants’ attacks on the corrective disclosure dates alleged in the First Amended
                   Complaint were unavailing, especially in light of the Third Circuit’s practical
                   approach to loss causation at the pleading stage.

        24.        On October 6, 2017, Defendants filed a reply in support of their motion to dismiss.

 ECF No. 74. In their reply, Defendants advanced further arguments in support of their purported

 bases for dismissing the First Amended Complaint, including that: (i) the misstatements at issue

 were not false or misleading as a matter of law; (ii) Lead Plaintiffs did not adequately allege that

 Defendants acted with the requisite scienter; and (iii) Lead Plaintiffs failed to adequately plead

 loss causation.




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        25.      Thereafter, on October 31, 2017, while Defendants’ motion to dismiss was fully

 briefed and pending, a consortium of forty-six Attorneys General filed a complaint charging

 Allergan (in the form of Actavis, Allergan’s former generic drugs business) as a co-conspirator in

 an antitrust price-fixing conspiracy. The Attorneys General’s complaint described several

 “smoking guns” calls, emails, and text messages between Allergan executives and other co-

 conspirators.

        26.      In light of this information, on November 22, 2017, Lead Plaintiffs moved, pursuant

 to Federal Rule 15, for leave to supplement and amend the First Amended Complaint. ECF No.

 79. The Court granted Lead Plaintiffs’ request on November 27, 2017. ECF No. 81.16

        D.       The Second Amended Complaint; Defendants’ Motion to Dismiss the Second
                 Amended Complaint; and the Court’s Ruling Thereon

        27.      On November 28, 2017, Lead Plaintiffs filed the operative complaint in the

 Action—the Second Amended Complaint. ECF No. 82. The Second Amended Complaint included

 newly discovered information, including information revealed in the Attorneys General’s

 complaint.

        28.      On January 22, 2018, Defendants moved to dismiss the Second Amended

 Complaint in its entirety pursuant to Federal Rule 12(b)(6). ECF No. 87. Defendants’ motion to

 dismiss the Second Amended Complaint advanced arguments previously made in their motion to

 dismiss the First Amended Complaint. See supra ¶ 22.




 16
   During this time, the Action was reassigned from the Honorable Judge Susan D. Wigenton and
 Magistrate Judge Leda D. Wettre to the Honorable Judge Katherine S. Hayden and Magistrate
 Judge Cathy L. Waldor on November 6, 2017. ECF No. 78.


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        29.     On March 23, 2018, Lead Plaintiffs opposed Defendants’ motion to dismiss the

 Second Amended Complaint. ECF No. 91. Defendants filed their reply in further support of their

 motion to dismiss on April 23, 2018. ECF No. 96.

        30.     Over the next year, the Parties submitted significant supplemental briefing to alert

 the Court to developments in case law and in the Attorneys General’s prosecution of Allergan and

 its alleged co-conspirators. ECF Nos. 100-14, 117-18.

        31.     The Court heard oral argument on Defendants’ motion to dismiss the Second

 Amended Complaint on April 11, 2019. ECF Nos. 119-20.

        32.     Following oral argument and while Defendants’ motion to dismiss was still

 pending, on May 10, 2019, the Attorneys General filed another lawsuit, bringing new claims of

 substantial antitrust violations against several generic drug makers, including former Actavis

 employees Marc Falkin and Richard Rogerson (“May 2019 AG Complaint”). The May 2019 AG

 Complaint set forth a highly detailed account of Defendants’ anti-competitive conduct in

 connection with as many as twenty-two generic drugs. At the Court’s request, the Parties submitted

 supplemental letter briefing concerning the impact of the May 2019 AG Complaint on Defendants’

 pending motion to dismiss. ECF Nos. 122-23.

        33.     On August 6, 2019, the Court denied Defendants’ motion to dismiss the Second

 Amended Complaint in full (ECF Nos. 124-25) (“MTD Order”). In the MTD Order, the Court

 made several key findings. First, the Court rejected Defendants’ argument that Lead Plaintiffs

 failed to adequately allege an underlying price-fixing scheme, holding that Lead Plaintiffs alleged

 both direct and indirect evidence of an agreement between Allergan and other drug manufacturers

 to fix the prices of generic drugs. ECF No. 124, at 13. Second, the Court found that Lead Plaintiffs

 adequately alleged five different categories of false statements, which were rendered misleading




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 by Defendants’ failure to disclose the price-fixing scheme: “(1) statements explaining Allergan’s

 participation in the [generic drug] market; (2) statements regarding the DOJ investigation; (3)

 statements of income; (4) SOX certifications; and (5) Allergan’s Code of Conduct.” Id. at 14-15.

 Third, in concluding that Lead Plaintiffs adequately pled scienter, the Court focused on the

 ongoing government investigations into Defendants’ price-fixing scheme and also applied the so-

 called “core operations” doctrine, which allows knowledge of fraud to be imputed to individual

 defendants where the alleged fraud relates to the core business of the company. Id. at 21-24.

 Finally, the Court rejected Defendants’ loss causation arguments at the pleading stage. Id. at 24-

 27

        34.     On September 13, 2019, Defendants filed their answer to the Second Amended

 Complaint, denying its allegations and asserting numerous defenses to the sustained claims. ECF

 No. 129.

        E.      Lead Plaintiffs’ Extensive Discovery Efforts

        35.     From August 2019 through May 2021, both Lead Plaintiffs and Defendants

 aggressively pursued discovery. The discovery process was highly contested, and numerous

 disputes arose among the Parties regarding the scope of discovery.

        36.     Through their efforts, Lead Counsel obtained more than 430,000 documents from

 Defendants and numerous third parties, totaling more than 2.6 million pages. As described below,

 Lead Counsel reviewed and analyzed these documents, as well as discovery responses, in order to

 engage experts, prepare for depositions, and ultimately develop the record for trial. Lead Plaintiffs

 also took advantage of other discovery tools available under the Federal Rules, including written

 discovery. These discovery efforts provided Lead Counsel with a thorough understanding of the

 strengths and weaknesses of Lead Plaintiffs’ claims and assisted Lead Counsel in considering and

 evaluating the fairness of the Settlement. A summary of Lead Counsel’s discovery efforts follows.


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        F.      Document Discovery from Defendants and Third Parties

        37.     As noted above, Lead Plaintiffs obtained and reviewed more than 2.6 million pages

 of documents from Defendants and third parties in this Action. Lead Plaintiffs served their first set

 of requests for production of documents (consisting of sixteen requests) on Defendants on

 September 27, 2019.17 After Defendants served their responses and objections to Lead Plaintiffs’

 document requests on November 11, 2019, the Parties met and conferred extensively to negotiate

 the scope and parameters of Defendants’ document collection and production. Lead Plaintiffs

 served their second set of requests for production of documents (consisting of four requests) on

 Defendants on February 28, 2020 and served their third set of requests for production of documents

 (consisting of five requests and bringing the total requests to twenty-five) on Defendants on May

 6, 2020. Defendants served their responses and objections to Lead Plaintiffs’ second and third sets

 of document requests on May 14, 2020 and June 5, 2020, respectively.

        38.     In addition, during fact discovery, the Parties served at least fifty document

 subpoenas on third parties, including several of the alleged co-conspirators in the price-fixing

 scheme such as Teva Pharmaceuticals USA, Inc. (“Teva”), Sandoz Inc., and Mylan

 Pharmaceuticals Inc. Lead Counsel met and conferred with counsel for many of these third parties

 to negotiate the scope and terms of their respective document productions. In total, Lead Counsel

 obtained more than 2 million pages of documents from approximately thirty-four third parties.

        39.     To facilitate the document review, Lead Counsel developed a detailed review

 protocol. Initially, Lead Counsel created a comprehensive coding manual, with explanatory notes

 covering: (i) the key facts at issue in the Action; (ii) relevance coding instructions; and (iii) “tags”

 covering relevant issues and sub-issues. Next, Lead Counsel assembled a team of experienced


 17
   The Parties prepared and exchanged initial disclosures pursuant to Federal Rule 26(a)(1) on
 November 1, 2019.


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 attorneys to review and analyze the documents received in discovery. This team of associates and

 staff attorneys reported directly to senior associates and partners at Kessler Topaz and Bernstein

 Litowiz, circulating detailed notes on “hot” documents on a weekly basis and participating in

 regular meetings to discuss their findings. Through these efforts, Lead Counsel developed a

 thorough understanding of the evidentiary record, which they used to identify key issues for further

 analysis and inform Lead Plaintiffs’ theories of liability.

           40.    Beyond these formal processes, the attorneys involved in reviewing and analyzing

 documents for this matter communicated frequently to ensure that coding decisions were applied

 consistently and that all team members were apprised of important developments with respect to

 the document review and development of case theories. In addition, these attorneys were

 responsible for preparing presentations and memoranda on key factual issues and potential

 deponents, as well as preparing deposition kits identifying the relevant documents to introduce

 with deponents.

           G.     Document Discovery from Lead Plaintiffs

           41.    Lead Plaintiffs also responded to document requests from Defendants. Defendants

 served their first request for production of documents (consisting of forty-four requests) on Lead

 Plaintiffs on February 26, 2020. Lead Plaintiffs timely served responses and objections to

 Defendants’ documents requests on March 27, 2020. The Parties met and conferred extensively

 over the scope and parameters of Lead Plaintiffs’ document productions in response to Defendants’

 requests. In responding to Defendants’ document requests, Lead Plaintiffs performed diligent and

 reasonable searches and document collections, reviewed all potentially relevant documents for

 responsiveness and privilege, and produced over 64,700 pages of documents to Defendants.18



 18
      Lead Plaintiffs’ market-efficiency expert produced an additional 56,700+ pages of documents.


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        H.      Written Discovery

        42.     Lead Plaintiffs also served requests for written discovery on Defendants. Lead

 Plaintiffs served four sets of interrogatories (consisting of nine total interrogatories) on Allergan

 on September 27, 2019, May 29, 2020, August 12, 2020, and September 1, 2020, to which Allergan

 served written, verified responses and objections on November 11, 2019, March 13, 2020

 (supplemental), June 29, 2020, September 11, 2020, October 1, 2020, and December 18, 2020

 (supplemental). Also on March 24, 2020, Lead Plaintiffs served seventy-six requests for admission

 on Allergan. Allergan served responses and objections to Lead Plaintiffs’ requests for admission

 on June 8, 2020. Lead Plaintiffs’ analyses of these written discovery responses informed their

 approaches later in the litigation, including in preparing for depositions.

        43.     Lead Plaintiffs also responded to written discovery propounded by Defendants.

 Defendants served eleven interrogatories on Lead Plaintiffs on November 17, 2020, to which Lead

 Plaintiffs timely served written and verified responses and objections on January 15, 2021, after

 performing all the research and review necessary to provide such responses. Defendants served

 eight contention interrogatories on Lead Plaintiffs on March 31, 2021. Additionally, on March 31,

 2021, Defendants served twenty-nine requests for admission on Lead Plaintiffs. Lead Plaintiffs

 were in the process of preparing responses to these contention interrogatories and requests for

 admission at the time the Parties reached the Settlement.

        I.      Depositions

        44.     Lead Plaintiffs reviewed and analyzed all of the documents produced by

 Defendants and third parties, as well as all written discovery responses Defendants provided.

 Bringing these voluminous materials to bear, Lead Plaintiffs deposed twenty fact witnesses.

 Among others, Lead Plaintiffs deposed: (i) six of the Individual Defendants (including both of

 Allergan’s former Chief Executive Officers and Chief Financial Officers, the President of the


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 Actavis plc generic drug unit, and the Company’s Chief Legal Officer); (ii) ten current and former

 Allergan employees (including Marc Falkin and Richard Rogerson, former Allergan senior

 executives who were directly implicated in allegations of collusion in the various Attorneys

 General complaints); and (iii) four third parties (including current and former senior executives at

 several of the drug companies alleged to have conspired with Allergan in the price-fixing scheme).

 Lead Counsel devoted substantial time strategically preparing for and participating in these

 depositions.

        45.     Fact discovery concluded on April 22, 2021.

        J.      Lead Counsel’s Work with Respect to Experts and Consultants

        46.     Lead Counsel also worked extensively with experts and consultants in this Action.

        47.     Lead Counsel retained and worked with Chad Coffman, CFA of Global Economics

 Group, LLC, who provided expert opinions both in connection with class certification and at the

 merits stage. Mr. Coffman’s expert report regarding market efficiency and a model for measuring

 Settlement Class Members’ damages in accordance with Lead Plaintiffs’ theory of liability was

 submitted to the Court along with Lead Plaintiffs’ Class Certification Motion on March 20, 2020.

 ECF No. 143-3. Lead Counsel prepared and defended Mr. Coffman at his deposition on July 16,

 2020. Mr. Coffman also evaluated the rebuttal report of Defendants’ expert, Allan W. Kleidon,

 Ph.D. (“Dr. Kleidon”), and, in coordination with Lead Counsel, submitted a rebuttal expert report

 related to the Class Certification Motion on November 25, 2020. ECF No. 187-1, Ex. A. Lead

 Counsel also worked closely with Mr. Coffman in preparing for mediation with Judge Phillips and,

 after reaching the Settlement, Mr. Coffman and his team at Global Economics Group, LLC assisted

 Lead Counsel in developing the proposed plan for allocating the settlement proceeds to eligible

 Settlement Class Members as set forth in the Notice.




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        48.     Lead Counsel also retained and worked with Greylock McKinnon Associates

 (“Greylock”), an economic consulting firm that specializes in antitrust matters, at different stages

 of the litigation. Specifically, Lead Counsel consulted with Greylock in analyzing pricing data

 used in the First and Second Amended Complaints and worked with Greylock as it prepared an

 expert report describing the economic evidence underlying the alleged price-fixing conspiracy.

        K.      Lead Plaintiffs’ Class Certification Motion

        49.     While continuing to pursue merits discovery, on March 20, 2020, Lead Plaintiffs

 filed their Class Certification Motion, seeking the Court’s certification of a class consisting of

 three subclasses. ECF No. 143. The Class Certification Motion was supported by a market

 efficiency and damages methodology analysis and report prepared by Lead Plaintiffs’ expert, Mr.

 Coffman, who opined that both Allergan common stock and Allergan preferred stock traded in an

 efficient market during the Class Period and that damages for both Lead Plaintiffs’ Section 10(b)

 claims and Section 14(a) claims could be calculated on a class-wide basis utilizing a common

 methodology.

        50.     Defendants opposed the Class Certification Motion on October 14, 2020. ECF No.

 175. In their opposition, Defendants argued that certification was inappropriate for several reasons,

 including that: (i) Lead Plaintiffs could not rely on the presumption of reliance established in Basic

 Inc. v. Levinson, 485 U.S. 224 (1988), because Lead Plaintiffs were aware of the allegedly

 undisclosed truth at the time they bought or sold their Allergan shares; (ii) even if Lead Plaintiffs

 were able to establish a presumption of reliance for the first alleged disclosure, they could not do

 so as to the second corrective disclosure because such disclosure did not provide new, value-

 relevant information to the market and did not have a statistically significant impact on Allergan’s

 stock price; and (iii) AP7 and Union were inadequate class representatives. Defendants supported

 their arguments with an expert report from Dr. Kleidon, a Senior Vice President at Cornerstone


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 Research, who reviewed and critiqued Mr. Coffman’s report and provided his own rebuttal

 analysis related to price impact. See generally ECF No. 175-2.

        51.     In connection with the Class Certification Motion, Lead Plaintiffs produced

 documents, and Defendants deposed a representative from AP7 on July 9, 2020 and a

 representative from Union on October 9, 2020. Defendants deposed Mr. Coffman on July 16, 2020,

 and Lead Counsel deposed Dr. Kleidon on November 17, 2020.

        52.     Following Dr. Kleidon’s deposition, Lead Plaintiffs filed a reply in further support

 of the Class Certification Motion, including a rebuttal expert report from Mr. Coffman, on

 November 25, 2020. ECF Nos. 187, 188.

        53.     On December 30, 2020, Defendants filed a letter seeking leave to submit a sur-reply

 in further opposition to the Class Certification Motion, and attaching their proposed sur-reply. ECF

 No. 191. Lead Plaintiffs responded to Defendants’ request for leave to submit a sur-reply by letter

 filed on January 14, 2021. ECF No. 193.

        54.     Both Lead Plaintiffs’ Class Certification Motion and Defendants’ request for leave

 to file a sur-reply were pending when the Parties agreed to resolve the Action.

 IV.    THE SETTLEMENT

        A.      The Parties’ Settlement Negotiations and Mediation

        55.     After the close of fact discovery and while Lead Plaintiffs’ Class Certification

 Motion was pending, the Parties agreed to explore the possibility of resolving the Action through

 a private mediator. To that end, the Parties retained a former United States District Judge, Judge

 Phillips of Phillips ADR, to serve as mediator. Judge Phillips is one of the nation’s foremost

 mediators of complex litigation—including specifically both securities and antitrust actions.

        56.     On May 11, 2021, the Parties participated in a full-day mediation session before

 Judge Phillips. The mediation was conducted using the Zoom videoconferencing platform and was


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 attended by Lead Counsel, representatives of AP7 and Union, Defendants’ Counsel,

 representatives of Allergan, and representatives from Defendants’ insurance carriers. In advance

 of the mediation, the Parties prepared and exchanged over ninety pages of detailed mediation

 submissions, with each side discussing the strengths and weaknesses of their claims and defenses,

 informed by the voluminous evidentiary record developed in the course of discovery. At the

 mediation, the Parties responded to detailed merits- and damages-related questions from Judge

 Phillips and his staff. Although the Parties made substantial progress during the mediation session,

 they remained too far apart in their respective positions to reach agreement that day and agreed to

 continue their settlement negotiations with Judge Phillips and his staff. See generally Phillips

 Decl., ¶¶ 6-10.

        57.        After approximately four weeks of further negotiations and multiple rounds of bids

 and offers, Judge Phillips issued a mediator’s recommendation that the case be resolved for $130

 million in cash. Id. at ¶ 9. The Parties ultimately accepted the recommendation and memorialized

 their agreement in principle to settle the Action in a confidential term sheet executed on June 15,

 2021 (“Term Sheet”).

        B.         Preparation of Settlement Documentation and Motion for Preliminary
                   Approval of Settlement

        58.        After the Parties reached their agreement in principle to settle the Action, they spent

 additional weeks negotiating the final terms of the Settlement, including the Stipulation (and the

 exhibits thereto) as well as a confidential supplemental agreement regarding requests for exclusion

 (“Supplemental Agreement”),19 and exchanged multiple drafts of these documents.


 19
   The Supplemental Agreement sets forth the conditions under which Allergan may terminate the
 Settlement in the event that requests for exclusion from the Class exceed an agreed-upon,
 confidential opt-out threshold. Pursuant to its terms (and as is typical in cases like this (see, e.g.,
 In re Signet Jewelers Ltd. Sec. Litig., 2020 WL 4196468, at *13 (S.D.N.Y. July 21, 2020)), the



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        59.     During this same time, Lead Counsel requested and reviewed detailed bids obtained

 from several organizations specializing in class action notice and claims administration, and

 conducted follow-up communications with certain of these organizations. As a result of this

 bidding process, Lead Counsel selected A.B. Data to serve as the Claims Administrator for the

 Settlement. Lead Counsel also worked closely with Lead Plaintiffs’ damages expert to develop the

 proposed Plan of Allocation. See infra Section VII.

        60.     On July 8, 2021, the Parties executed the Stipulation and Supplemental Agreement

 setting forth their binding agreement to settle the Action.

        61.     Thereafter, on July 9, 2021, Lead Plaintiffs filed their Unopposed Motion for

 Preliminary Approval of Settlement and Authorization to Disseminate Notice of Settlement

 (“Preliminary Approval Motion”), which included a copy of the Stipulation and a memorandum

 in support. ECF No. 223. On July 14, 2021, the Court entered a Consent Order permitting

 Magistrate Judge Cathy L. Waldor to conduct all settlement proceedings in the case, including

 final approval of the settlement. ECF No. 225.

        62.     On July 30, 2021, the Court entered the Order Preliminarily Approving Settlement

 and Authorizing Dissemination of Notice of Settlement granting Lead Plaintiffs’ Preliminary

 Approval Motion and finding that “it will likely be able to finally approve the Settlement under

 Rule 23(e)(2) as being fair, reasonable, and adequate to the Settlement Class, subject to further

 consideration at the Settlement Hearing.” Preliminary Approval Order, ¶ 4. The Court set the

 Settlement Hearing for November 17, 2021, at 1:00 p.m. Id., ¶ 5.




 Supplemental Agreement is not being made public but may be submitted to the Court in camera
 or under seal.


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 V.     RISKS OF CONTINUED LITIGATION

        63.     At the time the Parties reached their agreement in principle to resolve the Action,

 Lead Plaintiffs and Lead Counsel had reviewed extensive materials and were well-positioned to

 evaluate the strengths and weaknesses of the claims alleged in the Second Amended Complaint.

 Lead Counsel’s exhaustive legal analysis and discovery efforts—including reviewing and

 analyzing more than 2.6 million pages of discovery, taking twenty fact depositions, and consulting

 with various experts—provided them with a comprehensive understanding of the strengths and

 weaknesses of the claims in the Action.

        64.     This understanding, complemented by Defendants’ various legal and factual

 arguments advanced in seeking dismissal of the First and Second Amended Complaints, opposing

 class certification, and during the Parties’ settlement negotiations, informed Lead Plaintiffs and

 Lead Counsel that, while their case against Defendants had merit and was sufficient to survive a

 motion to dismiss, there were several factors that made the outcome of continued litigation—

 including, for example, overcoming Defendants’ anticipated summary judgment motion and

 proving their claims at trial—uncertain.20 Additionally, Lead Plaintiffs’ Class Certification Motion

 was pending at the time the Settlement was reached. An adverse ruling by the Court on that motion

 would have altered the landscape of this case altogether.

        65.     Below is a discussion of some of the most serious litigation risks faced by the

 Settlement Class. Lead Plaintiffs and Lead Counsel carefully considered each of these risks during



 20
   There have been many securities fraud class actions that have survived motions to dismiss only
 to be defeated in connection with Daubert motions or at summary judgment. See, e.g., In re
 Barclays Bank PLC Sec. Litig., 2017 WL 4082305 (S.D.N.Y. Sept. 13, 2017), aff’d, 756 F. App’x
 41 (2d Cir. 2018) (summary judgment granted after eight years of litigation); In re Omnicom Grp.,
 Inc. Sec. Litig., 541 F. Supp. 2d 546, 554-55 (S.D.N.Y. 2008), aff’d, 597 F.3d 501 (2d Cir. 2010)
 (summary judgment granted after six years of litigation and millions of dollars spent by plaintiffs’
 counsel).


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 the pendency of the Action and before and during their settlement discussions with Defendants.

 Ultimately, consideration of the risks and unique complexities of the claims, thoroughly vetted

 during the settlement discussions, informed Lead Plaintiffs’ and Lead Counsel’s determination

 that the Settlement represents an excellent result for the Settlement Class.

        A.      Risks to Prosecuting Securities Class Actions in General

        66.     In recent years, securities class actions have become riskier and more difficult to

 prove given changes in the law, including numerous United States Supreme Court decisions. In

 fact, well-known firm NERA Economic Consulting found that, in 2020, “both the number of cases

 settled and the number of cases dismissed reached 10-year record levels—settled cases reaching a

 record low and dismissed cases reaching a record high,” and further that over 77% of the case

 resolutions in 2020 were in favor of Defendants. See Janeen McIntosh & Svetlana Starykh, Recent

 Trends in Securities Class Action Litigation: 2020 Full-Year Review, NERA Economic

 Consulting, 1, 11-12 (Jan. 25, 2021), attached hereto as Exhibit 9.

        67.     Even when they have survived motions to dismiss, securities class actions can be

 defeated either at the class certification stage, in connection with Daubert motions, or at summary

 judgment. For example, class certification has been denied in several recent securities class

 actions. See Ohio Pub. Emps. Ret. Sys. v. Fed. Home Loan Mortg. Corp., 2018 WL 3861840, at

 *18 (N.D. Ohio Aug. 14, 2018) (holding that “[a] theory that statements maintained an inflated

 stock price is not evidence that can refute otherwise overwhelming evidence of no price impact”);

 In re Finisar Corp. Sec. Litig., 2017 WL 6026244 (N.D. Cal. Dec. 5, 2017), reconsideration

 denied, 2018 WL 3472334 (N.D. Cal. Jan. 18, 2018), and leave to appeal denied, Okla.

 Firefighters Pension & Ret. Sys. v. Finisar Corp., 2018 WL 3472714 (9th Cir. July 13, 2018);

 Gordon v. Sonar Cap. Mgmt. LLC, 92 F. Supp. 3d 193 (S.D.N.Y. Mar. 19, 2015); Sicav v. Wang,

 2015 WL 268855 (S.D.N.Y. Jan. 21, 2015); IBEW Local 90 Pension Fund v. Deutsche Bank AG,


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 2013 WL 5815472 (S.D.N.Y. Oct. 29, 2013); George v. China Auto. Sys., Inc., 2013 WL 3357170

 (S.D.N.Y. July 3, 2013); Colman v. Theranos, Inc., 325 F.R.D. 629, 651 (N.D. Cal. 2018); Smyth

 v. China Agritech, Inc., 2013 WL 12136605 (C.D. Cal. Sept. 26, 2013); In re STEC Inc. Sec. Litig.,

 2012 WL 6965372 (C.D. Cal. Mar. 7, 2012).

        68.     Multiple securities class actions also recently have been dismissed at the summary

 judgment stage. See, e.g., Murphy v. Precision Castparts Corp., 2021 WL 2080016, at *6 (D. Or.

 May 24, 2021) (granting summary judgment after approximately five years of litigation); In re

 Retek Inc. Sec. Litig., 621 F. Supp. 2d 690 (D. Minn. 2009) (granting summary judgment on a

 motion for reconsideration on loss causation grounds after seven years of litigation); Barclays,

 2017 WL 4082305 (summary judgment granted after eight years of litigation); Omnicom, 541 F.

 Supp. 2d at 554-55 (summary judgment granted after six years of litigation and millions of dollars

 spent by plaintiffs’ counsel); see also In re Xerox Corp. Sec. Litig., 935 F. Supp. 2d 448 (D. Conn.

 2013), aff’d, Dalberth v. Xerox Corp., 766 F.3d 172 (2d Cir. 2014); Fosbre v. Las Vegas Sands

 Corp., 2017 WL 55878 (D. Nev. Jan. 3, 2017), aff’d sub nom., Pompano Beach Police &

 Firefighters’ Ret. Sys. v. Las Vegas Sands Corp., 732 F. App’x 543 (9th Cir. 2018); Perrin v. Sw.

 Water Co., 2014 WL 10979865 (C.D. Cal. July 2, 2014); In re Novatel Wireless Sec. Litig., 830 F.

 Supp. 2d 996, 1015 (S.D. Cal. 2011); In re Oracle Corp. Sec. Litig., 2009 WL 1709050 (N.D. Cal.

 June 19, 2009), aff’d, 627 F.3d 376 (9th Cir. 2010); In re Bos. Sci. Corp. Sec. Litig., 708 F. Supp.

 2d 110, 113 (D. Mass. 2010), aff’d sub nom., Miss. Pub. Emps.’ Ret. Sys. v. Bos. Sci. Corp., 649

 F.3d 5 (1st Cir. 2011); In re REMEC Inc. Sec. Litig., 702 F. Supp. 2d 1202 (S.D. Cal. 2010). And

 even cases that have survived summary judgment have been dismissed prior to trial in connection

 with Daubert motions. See, e.g., Bricklayers & Trowel Trades Int’l Pension Fund v. Credit Suisse

 First Bos., 853 F. Supp. 2d 181 (D. Mass. 2012), aff’d, 752 F.3d 82 (1st Cir. 2014) (granting




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 summary judgment sua sponte in favor of defendants after finding that plaintiffs’ expert was

 unreliable).

         69.     Even when securities class action plaintiffs are successful in certifying a class,

 prevailing at summary judgment, overcoming Daubert motions, and have gone to trial, there are

 still very real risks that there will be no recovery or substantially less recovery for class members.

 For example, in In re BankAtlantic Bancorp, Inc. Securities Litigation, a jury rendered a verdict in

 plaintiffs’ favor on liability in 2010. 2011 WL 1585605, at *6 (S.D. Fla. Apr. 25, 2011). In 2011,

 the district court granted defendants’ motion for judgment as a matter of law and entered judgment

 in favor of the defendants on all claims. Id. at *38. In 2012, the Eleventh Circuit affirmed the

 district court’s ruling, finding that there was insufficient evidence to support a finding of loss

 causation. Hubbard v. BankAtlantic Bancorp, Inc., 688 F.3d 713, 725 (11th Cir. 2012).

         70.     There is also the increasing risk that an intervening change in the law can result in

 the dismissal of a case after significant effort has been expended. The Supreme Court has heard

 several securities cases in recent years, often announcing holdings that dramatically changed the

 law in the midst of long-running cases. See Omnicare, Inc. v. Laborers Dist. Council Constr. Indus.

 Pension Fund, 575 U.S. 175 (2015); Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258

 (2014); Comcast Corp. v Behrend, 569 U.S. 27 (2013); Janus Cap. Grp., Inc. v. First Derivative

 Traders, 564 U.S. 135 (2011); Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247 (2010). As a result,

 many cases have been lost after thousands of hours have been invested in briefing and discovery.

 For example, in In re Vivendi Universal, S.A. Securities Litigation, after a verdict for class

 plaintiffs finding Vivendi acted recklessly with respect to fifty-seven sets of statements, the district

 court granted judgment for defendants following a change in the law announced in Morrison. 765

 F. Supp. 2d 512, 524, 533 (S.D.N.Y. 2011), aff’d, 838 F.3d 223 (2d Cir. 2016). Changes in law at




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 the Circuit level has similarly upended pending cases; for example, in Precision Castparts, the

 court reconsidered its denial of summary judgment and granted it for defendants based explicitly

 on an intervening Ninth Circuit decision. 2021 WL 2080016, at *6.

         71.     The risk of an intervening change in the law was particularly salient in this case.

 On June 21, 2021, the Supreme Court held that courts may consider evidence of the generic nature

 of alleged misstatements in evaluating price impact at the class certification stage. Goldman Sachs

 Grp., Inc. v. Ark. Tchr. Ret. Sys., 141 S. Ct. 1951, 1955, 210 L. Ed. 2d 347 (2021) (“The generic

 nature of a misrepresentation often is important evidence of price impact that courts should

 consider at class certification, including in inflation-maintenance cases.”). Here, Defendants had

 argued that many of the statements at issue were non-actionable because they were generic (see,

 e.g., In re Allergan Generic Drug Pricing Sec. Litig., 2019 WL 3562134, at *9 (D.N.J. Aug. 6,

 2019)). While Lead Plaintiffs defeated those arguments at the motion-to-dismiss stage, there was

 a risk that, in the absence of settlement, Defendants could have raised this argument again if the

 Action continued.

         72.     In sum, securities class actions face serious risks of dismissal and non-recovery at

 all stages of the litigation.

         B.      Risks to Establishing Defendants’ Liability

         73.     While Lead Plaintiffs and Lead Counsel believe their claims were meritorious, they

 also faced substantial risks in establishing liability had the Action continued.

         74.     For example, the need to prove an antitrust “case within a case” to establish

 liability—specifically, the falsity of Defendants’ public statements that Allergan was not involved

 in anti-competitive conduct—greatly amplified Lead Plaintiffs’ litigation risks. Defendants have

 taken the position that, in order to establish liability, Lead Plaintiffs would have had to prove an

 underlying antitrust conspiracy against Allergan before it could establish any alleged securities


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 law violations. Defendants likely would have further argued that, on the factual record, Lead

 Plaintiffs could not establish that Allergan engaged in a wide-ranging antitrust conspiracy, or that

 the dramatic price increases alleged by Lead Plaintiffs were the product of collusion rather than

 legitimate business reasons, such as supply shortages, increased demand for the products,

 increased costs, and the like. Further, Defendants would likely have contended that any arguments

 Lead Plaintiffs raised at summary judgment or trial based on a “market-allocation” theory—i.e., a

 theory that Defendants conspired to divide up generic drug markets with their competitors in an

 attempt to maintain supra-competitive pricing without specifically agreeing on what prices to

 charge—represented a shift from Lead Plaintiffs’ original theory of liability as pled in the

 Complaint, and in any event were based on the false premise that competitors could not

 independently decide to seek roughly equivalent market share. While Lead Plaintiffs believe they

 had strong arguments in response, it is clear that, if the Court or a jury were to have credited such

 arguments at summary judgment or trial, any class recovery could have been eliminated outright.

        75.     Further, even if Lead Plaintiffs were to have succeeded in establishing that Allergan

 engaged in anti-competitive conduct, Defendants likely would have argued that any impact of such

 conduct was vanishingly small, particularly in light of Allergan’s size—and therefore that any

 alleged misstatements were immaterial. Specifically, as Defendants previewed at the motion-to-

 dismiss stage, Defendants were likely to argue that the revenues associated with the drugs that

 were allegedly subject to collusive agreements were small in total, and that the actual amount of

 revenues derived from collusion—if any—was much smaller still.

        76.     Defendants also would have mounted a potentially powerful defense around the

 element of scienter. Throughout the Action, Defendants argued that, in order to prevail at trial on

 the Section 10(b) claims, Lead Plaintiffs would have to show that the Individual Defendants were




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 aware of underlying collusive activity involving Allergan employees and other pharmaceutical

 competitors, or were at least reckless in making allegedly false statements about Allergan’s generic

 drug business. Defendants also argued, and likely would have continued to argue, that the evidence

 shows none of the Individual Defendants knew about the alleged anti-competitive conduct or had

 reason to believe such conduct was occurring. Specifically, Defendants were likely to argue that

 there was no evidence that the Individual Defendants themselves were involved in any collusive

 communications with competitors, the Individual Defendants had reason to believe that Allergan’s

 generic drug price changes were driven by legitimate business reasons, the Individual Defendants

 adopted policies prohibiting anti-competitive behavior, and that any anti-competitive conduct (if

 any) was limited in scope such there was no reason for the Individual Defendants to suspect that

 their statements to the market were materially misleading. While Lead Plaintiffs believe they had

 strong arguments in response, including that Defendants were on notice of investigations of anti-

 competitive conduct in the generic pharmaceuticals industry (and Allergan specifically), if

 Defendants had prevailed on their scienter arguments, Lead Plaintiffs would have been unable to

 recover on their Section 10(b) claims, dramatically reducing damages for would be Settlement

 Class Members.

        C.      Risks Concerning Loss Causation and Damages

        77.     Even if successful at establishing Defendants’ liability, Lead Plaintiffs would still

 have had to overcome significant challenges in proving loss causation and damages. To start,

 Defendants argued at the motion-to-dismiss stage, and likely would have argued at summary

 judgment and trial, that Lead Plaintiffs could not establish loss causation as to either of the two

 alleged corrective disclosures because each revealed, at most, that Allergan was part of an

 investigation of collusion—not that it had been found to have engaged in such misconduct, or even

 was the focus of such an investigation. Defendants would likely have bolstered this argument by


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 asserting that, to date, Allergan has not been criminally charged or found to have committed

 antitrust violations in connection with the sale of generic drugs during the Class Period. Defendants

 were likely to argue that, in light of those facts, the alleged corrective disclosures did not reveal

 (and could not have revealed) any relevant “truth” about Allergan’s or its employees’ purported

 anti-competitive conduct.

        78.     In addition, Defendants were again likely to argue that any collusion was

 quantitatively immaterial to Allergan’s results—and, therefore, that the revelation of the supposed

 truth about those activities could not, as a matter of financial economics, have resulted in large

 investment losses.

        79.     Further, Defendants likely would have made significant “truth on the market”

 arguments to attack loss causation. Defendants were likely to argue that, in advance of the first

 alleged corrective disclosure on August 6, 2015, the market was well aware of collusion allegations

 related to the generic drugs industry, and even of Allergan’s potential involvement—because,

 among other reasons, Allergan was specifically targeted in an October 2, 2014 press release issued

 by the United States House of Representatives’ Committee on Oversight and Reform that

 described an investigation by Senator Bernie Sanders and the late Representative Elijah Cummings

 into “staggering” price increases for generic drugs.

        80.     In addition, Defendants were likely to argue that Lead Plaintiffs would be required

 (and would be unable) to isolate any impact of the news of Allergan’s potential involvement in

 generic drug pricing collusion from other Allergan-specific information released that day, such as

 news that the Company was unlikely to pursue another merger until 2016 and would not provide

 updated earnings guidance until at least September 2015—and, at a minimum, that such alternative




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 causes for the decline would substantially diminish damages associated with the first alleged

 corrective disclosure.

         81.     In addition, Defendants were likely to continue to press several significant

 arguments regarding the second alleged corrective disclosure on November 3, 2016, which was

 responsible for an outsized proportion of the Settlement Class’s recoverable damages. Among

 other things, Defendants would have argued that: (i) no investor could have been misled following

 the first alleged corrective disclosure on August 6, 2015, discussed above; (ii) the second alleged

 corrective disclosure—a Bloomberg article discussing the ongoing DOJ investigation—did not

 actually reveal any new facts, but rather served as a journalistic characterization of already-public

 facts; (iii) any alleged facts revealed by the second corrective disclosure were rendered moot by

 the fact that Allergan had sold its generic drug business (and associated liabilities) to Teva by the

 time the disclosure was made; and (iv) consistent with (iii), market participants appeared to have

 been confused about the status of the liability transfer between Allergan and Teva, and when

 Allergan clarified that confusion after the market close on November 3, 2016, its stock price

 rebounded the next trading day—with the result that the alleged corrective disclosure did not

 evince a statistically significant stock price decline.

         82.     While Lead Plaintiffs believe that they had meaningful responses to each of these

 loss causation and damages arguments, those arguments presented significant risks at summary

 judgment and trial—and in any event, the resolution of those issues likely would have come down

 to an unpredictable and fiercely disputed “battle of the experts.” Accordingly, Lead Plaintiffs and

 Lead Counsel recognized that the Court and the jury would have been presented with very different

 opinions from highly qualified experts. If the Court or a jury had found Defendants’ expert




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 testimony to be more credible, it is very likely Lead Plaintiffs and the Settlement Class could have

 recovered nothing at all.

        D.      Statute of Limitations Risks

        83.     In addition, Lead Plaintiffs’ Section 14(a) claims faced serious statute of limitations

 risks. Claims under Section 14(a) must be brought within one year of the discovery of the claim,

 and Defendants have argued (and likely would have continued to argue) that the information

 underlying Lead Plaintiffs’ Section 14(a) claims was disclosed at least by August 6, 2015, when

 Allergan revealed to shareholders that it had received a grand jury subpoena from the DOJ in

 connection with an investigation into generic drug pricing. Because the initial complaint was filed

 more than one year later, Defendants have argued (and would have continued to argue) that the

 Section 14(a) claims were time-barred. If Defendants prevailed on this argument at either summary

 judgment or at trial, it would have eliminated Lead Plaintiffs’ Section 14(a) claims entirely.

        E.      Risks After Trial

        84.     Had Lead Plaintiffs prevailed at summary judgment and at trial, Defendants would

 likely have appealed the judgment—leading to many additional months, if not years, of further

 litigation. On appeal, Defendants would have renewed their host of arguments as to why Lead

 Plaintiffs had failed to establish liability, loss causation, and damages, thereby exposing Lead

 Plaintiffs to the risk of having any favorable judgment reversed or reduced below the Settlement

 Amount after years of litigation.21


 21
    There are numerous instances where jury verdicts for plaintiffs in securities class actions were
 overturned after appeal. See, e.g., Glickenhaus & Co. v. Household Int’l, Inc., 787 F.3d 408 (7th
 Cir. 2015) (reversing and remanding jury verdict of $2.46 billion after thirteen years of litigation);
 Oracle, 2009 WL 1709050 (granting summary judgment to defendants after eight years of
 litigation); Robbins v. Koger Props., Inc., 116 F.3d 1441 (11th Cir. 1997) (reversing $81 million
 jury verdict after nineteen-day trial and dismissing case with prejudice); Anixter v. Home-Stake
 Prod. Co., 77 F.3d 1215 (10th Cir. 1996) (overturning plaintiffs’ verdict obtained after two decades



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        85.       Moreover, even if a judgment in Lead Plaintiffs’ favor was affirmed on appeal,

 Defendants could then have challenged the reliance and damages of each class member, including

 Lead Plaintiffs, in an extended series of individual proceedings. That process could have taken

 multiple additional years, and could have severely reduced any recovery to the class as Defendants

 “picked off” class members. For example, in Vivendi, the district court acknowledged that in any

 post-trial proceedings, “Vivendi is entitled to rebut the presumption of reliance on an individual

 basis,” and that “any attempt to rebut the presumption of reliance on such grounds would call for

 separate inquiries into the individual circumstances of particular class members.” 765 F. Supp.

 2dat 583-84 (citations omitted). Over the course of several years, Vivendi indeed successfully

 challenged several class members’ damages in individual proceedings.

        86.       Thus, even if Lead Plaintiffs and the Settlement Class prevailed at trial, the

 subsequent processes of an appeal and challenges to individual class members could have severely

 reduced or even eliminated any recovery—and, at minimum, could have added several years of

 further delay.

 VI.    COMPLIANCE WITH THE COURT’S PRELIMINARY APPROVAL ORDER
        AND REACTION OF THE SETTLEMENT CLASS TO DATE

        87.       The Parties have stipulated to certification of the Settlement Class, for purposes of

 the Settlement only. Stipulation, ¶ 2. In its Preliminary Approval Order, the Court found, pursuant

 to Rule 23(e)(1)(B)(ii) of the Federal Rules of Civil Procedure, that it “will likely be able to certify

 the Settlement Class for purposes of the proposed Settlement” and “will likely be able to certify

 Lead Plaintiffs AP7 and Union as Class Representatives for the Settlement Class and appoint Lead

 Counsel Bernstein Litowitz Berger & Grossmann LLP and Kessler Topaz Meltzer & Check, LLP



 of litigation); In re Apple Comp. Sec. Litig., 1991 WL 238298 (N.D. Cal. Sept. 6, 1991) ($100
 million jury verdict vacated on post-trial motions).


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 as Class Counsel for the Settlement Class pursuant to Rule 23(g) of the Federal Rules of Civil

 Procedure.” Preliminary Approval Order, at 3-4. In connection with final approval of the

 Settlement, the Court will be asked to finally certify the Settlement Class and finally approve the

 appointment of Lead Plaintiffs AP7 and Union as Class Representatives for the Settlement Class

 and the appointment of Bernstein Litowitz and Kessler Topaz as Class Counsel for the Settlement

 Class. As Lead Plaintiffs apprised the Court in its Preliminary Approval Motion and Exhibit 3

 thereto, ECF No. 223-4, at 26 n.12, counsel for a competing lead plaintiff movant (which was not

 appointed) in an unrelated case raised questions about Bernstein Litowitz’s hiring of a former

 employee of the lead plaintiff (SEB). Following discovery and extensive briefing, the court found

 that the evidence did not establish any quid pro quo, and allowed Bernstein Litowitz to continue

 as Class Counsel. See SEB Inv. Mgmt. AB v. Symantec Corp., 2021 WL 1540996, at *1-2 (N.D.

 Cal. Apr. 20, 2021). The court in Symantec nevertheless ordered Bernstein Litowitz to bring its

 order to the attention of any court in which Bernstein Litowitz seeks appointment as class counsel,

 see id. at *2, as we did in connection with Preliminary Approval and do so again here. Lead

 Plaintiffs note that the parties in Symantec recently agreed to settle those claims for $70 million,

 and the court preliminary approved that settlement on September 16, 2021.

        88.     By its Preliminary Approval Order, the Court authorized Lead Counsel to retain

 A.B. Data as the Claims Administrator to supervise and administer the notice procedure in

 connection with the Settlement, as well as the processing of Claims. Preliminary Approval Order,

 ¶ 7. In accordance with the Preliminary Approval Order, A.B. Data, working under Lead Counsel’s

 supervision: (i) mailed by First-Class mail, or emailed, a copy of the Notice Packet to potential

 Settlement Class Members at the addresses provided by or caused to be provided by Allergan, or

 who otherwise was identified through further reasonable effort; (ii) mailed a copy of the Notice




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 Packet to the brokers and nominees (“Nominees”) contained in the Claims Administrator’s

 Nominee database; (iii) published the Summary Notice in The Wall Street Journal and transmitted

 it   over      the    PR   Newswire;   and   (iv)   established   a   website   for   the   Settlement,

 www.AllerganDrugPricingSecuritiesLitigation.com, to provide information about the Settlement,

 including downloadable copies of the Notice and Claim Form. Walter Decl., ¶¶ 5-11.

          89.         The Notice contains important information concerning the Action and the

 Settlement, including the definition of the Settlement Class, a description of the proposed

 Settlement, information regarding the claims asserted in the Action, and the proposed Plan of

 Allocation. The Notice also provides information for Settlement Class Members to determine

 whether to: (i) participate in the Settlement by completing and submitting a Claim Form; (ii)

 request exclusion from the Settlement Class; or (iii) object to any aspect of the Settlement, the Plan

 of Allocation, or the Fee and Expense Application. The Notice also informs recipients of Lead

 Counsel’s intent to apply for an award of attorneys’ fees in an amount not to exceed 24% of the

 Settlement Fund and payment of Litigation Expenses incurred in connection with the institution,

 prosecution, and resolution of the Action in an amount not to exceed $4,000,000, which amount

 may include an application for reimbursement of the reasonable costs and expenses incurred by

 Lead Plaintiffs directly related to their representation of the Settlement Class. See Walter Decl.,

 Ex. A.

          90.         In accordance with the Preliminary Approval Order, A.B. Data began mailing

 Notice Packets to potential Settlement Class Members and Nominees on August 27, 2021. Walter

 Decl., ¶ 5. To date, A.B. Data has disseminated 1,033,602 Notice Packets to potential Settlement

 Class Members and Nominees. Id., ¶ 8. In addition, A.B. Data caused the Summary Notice to be




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 published in The Wall Street Journal and transmitted over PR Newswire on September 13, 2021.

 Id., ¶ 9.22

         91.    Following issuance of the Notice, counsel for the Attorney General for the State of

 Connecticut contacted Lead Counsel seeking to confirm Lead Plaintiffs’ understanding that the

 definition of “Released Plaintiffs’ Claims” in the Stipulation, which clearly states that any released

 claim must, among other things, “relate to the purchase or sale of Allergan common and/or

 preferred stock during the Class Period,” did not release any current or potential claims brought

 by the Attorney General for violations of state or federal antitrust laws. Lead Plaintiffs confirmed

 their understanding that this was clear from the plain language of the Stipulation in a letter to the

 Connecticut Attorney General on October 7, 2021, attached hereto as Exhibit 5.

         92.    Contemporaneously with the mailing of the Notice Packet, A.B. Data developed

 and currently maintains the Settlement Website to provide Settlement Class Members and other

 interested parties with information concerning the Settlement and important dates and deadlines

 in connection therewith, as well as downloadable copies of the Notice, Claim Form, Stipulation,

 Preliminary Approval Order, and Second Amended Complaint. Walter Decl., ¶ 11. Additionally,

 A.B. Data maintains a toll-free telephone number and interactive voice-response system to respond

 to inquiries regarding the Settlement. Id., ¶ 10. Settlement Class Members with questions regarding

 the Settlement can also contact A.B. Data by sending an e-mail to the Settlement-specific e-mail

 address, info@AllerganDrugPricingSecuritiesLitigation.com.

         93.    As noted above and as set forth in the Notice and Summary Notice, the deadline for

 Settlement Class Members to request exclusion from the Settlement Class or to submit an objection




 22
   In accordance with the Stipulation, Defendants mailed notice of the Settlement pursuant to the
 Class Action Fairness Act, 28 U.S.C. § 1715 et seq. on July 15, 2021. ECF No. 230-1.


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 to the Settlement, the Plan of Allocation, or the Fee and Expense Application is October 27, 2021.

 To date, not one request for exclusion has been received and, as noted above, there has been only

 one objection. Should any requests for exclusion or additional objections be received, Lead

 Counsel will address them in their reply to be filed on or before November 10, 2021.

 VII.   THE PLAN FOR ALLOCATING THE NET SETTLEMENT FUND TO THE
        SETTLEMENT CLASS IS FAIR, REASONABLE, AND ADEQUATE

        94.     In accordance with the Preliminary Approval Order, and as explained in the Notice,

 Settlement Class Members who wish to participate in the distribution of the Net Settlement Fund

 (i.e., the Settlement Fund less: (i) any Taxes; (ii) any Notice and Administration Costs; (iii) any

 Litigation Expenses awarded by the Court; (iv) any attorneys’ fees awarded by the Court; and (v)

 any other costs or fees approved by the Court) must submit a valid Claim Form and all required

 supporting documentation to the Court-authorized Claims Administrator, A.B. Data, postmarked

 (if mailed), or online through the Settlement Website, no later than December 27, 2021. As

 provided in the Notice, the Net Settlement Fund will be distributed to Authorized Claimants23 in

 accordance with the plan for allocating the Net Settlement Fund among Authorized Claimants

 approved by the Court.

        95.     The plan of allocation proposed by Lead Plaintiffs (the “Plan of Allocation” or

 “Plan”) is attached as Appendix A to the Notice. See Walter Decl., Ex. A. The Plan is designed to

 achieve an equitable and rational distribution of the Net Settlement Fund. However, calculations

 made pursuant to the Plan do not represent a formal damages analysis and are not intended to

 measure the amounts that Settlement Class Members could recover after a trial.




 23
   As defined in ¶ 1(d) of the Stipulation, an “Authorized Claimant” is a Settlement Class Member
 who submits a Claim to the Claims Administrator that is approved by the Court for payment from
 the Net Settlement Fund.


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        96.     Lead Counsel developed the Plan in consultation with Lead Plaintiffs’ damages

 consultant, Mr. Coffman, and his team at Global Economics Group, LLC. The Plan creates a

 framework for the equitable distribution of the Net Settlement Fund among Settlement Class

 Members who suffered economic losses as a result of Defendants’ alleged violations of the federal

 securities laws set forth in the Second Amended Complaint, as opposed to economic losses caused

 by market or industry factors or company-specific factors unrelated thereto. To that end, Lead

 Plaintiffs’ damages consultant calculated the estimated amount of alleged artificial inflation in the

 per share price of Allergan common stock and Allergan preferred stock (together, “Allergan

 Securities”) over the course of the Class Period that was allegedly proximately caused by

 Defendants’ alleged materially false or misleading statements and omissions.

        97.     As set forth in the Plan, a Claimant’s Recognized Loss Amount will depend upon

 several factors, including whether the Claimant purchased Allergan common stock or Allergan

 preferred stock, the date(s) when the Claimant purchased or acquired his, her, or its shares of

 Allergan Securities during the Class Period, and whether such shares were sold (and if so, when

 and at what price).24 In order to have a Recognized Claim under the Plan, a Claimant must have

 suffered damages proximately caused by the disclosure of the relevant truth concealed by

 Defendants’ alleged fraud. Specifically, shares of Allergan Securities purchased or otherwise

 acquired during the Class Period (i.e., between October 29, 2013 and November 2, 2016, both

 dates inclusive) must have been held through at least one of the alleged corrective disclosures on

 August 6, 2015 and November 3, 2016 that removed alleged artificial inflation related to that

 information.




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    The calculation of a Recognized Loss Amount also takes into account the PSLRA’s statutory
 limitation on recoverable damages. See Section 21D(e)(1) of the Exchange Act.


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        98.     A.B. Data, as the Claims Administrator, will determine each Authorized Claimant’s

 pro rata share of the Net Settlement Fund by dividing the Authorized Claimant’s Recognized

 Claim (i.e., the sum of the Claimant’s Recognized Loss Amounts as calculated under the Plan) by

 the total Recognized Claims of all Authorized Claimants, multiplied by the total amount in the Net

 Settlement Fund. Lead Plaintiffs’ losses will be calculated in the same manner.

        99.     Once A.B. Data has processed all submitted Claim Forms and provided Claimants

 with an opportunity to cure any deficiencies in their Claims or challenge the rejection of their

 Claims, Lead Counsel will file a motion for approval of A.B. Data’s determinations with respect

 to all submitted Claims and authorization to distribute the Net Settlement Fund to Authorized

 Claimants. As set forth in the Plan, if seven (7) months after the initial distribution, there is a

 balance remaining in the Net Settlement Fund (whether by reason of uncashed checks, or

 otherwise), and if it is cost-effective to do so, Lead Counsel will conduct a re-distribution of the

 funds remaining after payment of any unpaid fees and expenses incurred in administering the

 Settlement, including the costs for such re-distribution, to Authorized Claimants who have cashed

 their initial distribution checks and would receive at least $10.00 from such re-distribution. Re-

 distributions will be repeated until it is determined that re-distribution of the funds remaining in

 the Net Settlement Fund would no longer be cost effective. Thereafter, any remaining balance will

 be contributed to non-sectarian, not-for-profit organization(s), to be recommended by Lead

 Counsel and approved by the Court.

        100.    As discussed in the Settlement Memorandum, the structure of the Plan is similar to

 the structure of plans of allocation that have been used to apportion settlement proceeds in

 numerous other securities class actions. To date, no objections to the Plan have been filed. In sum,

 Lead Counsel believe that the Plan provides a fair and reasonable method to equitably distribute




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 the Net Settlement Fund among Authorized Claimants, and respectfully submits that the Plan

 should be approved by the Court.

 VIII. THE FEE AND EXPENSE APPLICATION

        101.    In addition to seeking final approval of the Settlement and approval of the Plan of

 Allocation, Lead Counsel, on behalf of Plaintiffs’ Counsel, are applying for an award of attorneys’

 fees and payment of expenses incurred by Plaintiffs’ Counsel during the course of the Action.

 Specifically, Lead Counsel are applying for attorneys’ fees in the amount of 23.8% of the

 Settlement Fund and for Litigation Expenses in the total amount of $2,558,093.51.25 This total

 expense amount includes reimbursement in the aggregate amount of $84,850.00 to Lead Plaintiffs

 (i.e., $13,600.00 for AP7 and $71,250.00 for Union) for costs incurred directly in connection with

 their representation of the Settlement Class in accordance with the PSLRA, 15 U.S.C. § 78u-

 4(a)(4). See Gröttheim Decl., ¶ 16 & Riechwald Decl., ¶ 16. As noted above, Lead Counsel’s Fee

 and Expense Application is consistent with the amounts set forth in the Notice and, to date, only

 one potential objection regarding Lead Counsel’s request for attorneys’ fees and expenses has been

 received.

        102.    As set forth in the accompanying Fee Memorandum at § IV.B., the Schoeman

 Objection should be rejected by the Court. Dr. Schoeman has not demonstrated that he is even a




 25
   The lodestar and expense submissions of: (i) Matthew L. Mustokoff, on behalf of Kessler Topaz
 (“Kessler Topaz Fee and Expense Decl.”); (ii) John C. Browne, on behalf of Bernstein Litowitz
 (“Bernstein Litowitz Fee and Expense Decl.”); (iii) James E. Cecchi on behalf Carella Byrne
 (“Carella Byrne Fee and Expense Decl.”); (iv) Phillip Kim on behalf of Rosen Law (“Rosen Law
 Fee and Expense Decl.”); and Gregg S. Levin on behalf of Motley Rice (“Motley Fee and Expense
 Decl.”), are attached hereto as Exhibits 6A through 6E. These declarations set forth the names of
 the attorneys and professional support staff members who worked on the Action and their hourly
 rates, the lodestar value of the time expended by such attorneys and professional support staff, the
 expenses incurred by Plaintiffs’ Counsel, and the background and experience of the firms.



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 Settlement Class Member and has failed to satisfy the basic requirements for submitting an

 objection. And, even if Dr. Schoeman could establish standing, his objection is baseless.

         103.    Below is a summary of the primary factual bases for Lead Counsel’s Fee and

 Expense Application. A full analysis of the factors considered by courts in this Circuit when

 evaluating requests for attorneys’ fees and expenses from a common fund, as well as the supporting

 legal authority, is presented in the accompanying Fee Memorandum.26

         A.      Lead Counsel’s Fee Request Is Fair and Reasonable and Warrants Approval

                 1.      The Favorable Settlement Achieved

         104.    Courts have consistently recognized that the result achieved is a key factor to be

 considered in making a fee award. See Fee Memorandum, § IV.A. As described above, when

 viewed in absolute terms, the $130 million Settlement is a significant result—representing between

 13.4% and 23.4% of the Settlement Class’s maximum damages that could be realistically

 established at trial as estimated by Lead Plaintiffs’ damages expert. This range of percentage

 recovery exceeds the median recovery of investor losses as a percentage of damages in comparably

 sized securities cases by many multiples. See supra ¶ 11. This result is also significant when

 considered in view of the substantial risks and obstacles to obtaining a larger recover (or, any

 recovery) were the Action to continue towards trial, as well as the fact that this is, to Lead

 Plaintiffs’ knowledge, the first securities class action case arising out of the antitrust allegations at

 issue here to achieve resolution. Here, as a result of the Settlement, numerous Settlement Class


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    The Third Circuit has noted that a district court should consider the following factors, among
 others, in determining a fee award: “(1) the size of the fund created and the number of persons
 benefitted; (2) the presence or absence of substantial objections by members of the class to the
 settlement terms and/or fees requested by counsel; (3) the skill and efficiency of the attorneys
 involved; (4) the complexity and duration of the litigation; (5) the risk of nonpayment; (6) the
 amount of time devoted to the case by plaintiffs’ counsel; and (7) the awards in similar cases.”
 Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195 n.1 (3d Cir. 2000) (citations omitted). See
 also Fee Memorandum, § IV.


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 Members will immediately benefit and receive compensation for their losses and avoid the

 substantial risks to recovery in the absence of settlement.

                2.      The Risks of Litigation and the Need to Ensure the Availability of
                        Competent Counsel in High-Risk Contingent Cases

        105.    The risks faced by Lead Counsel in prosecuting this Action are highly relevant to

 the Court’s consideration of an award of attorneys’ fees, as well as its approval of the Settlement.

 Here, Defendants adamantly deny any wrongdoing and, if the Action had continued, would have

 aggressively litigated their defenses through summary judgment, a trial, and the appeals that would

 likely follow. As detailed in Section V above, Lead Counsel and Lead Plaintiffs faced significant

 risks to proving Defendants’ liability, loss causation, and damages at all stages of litigation.

        106.    These case-specific litigation risks are in addition to the risks accompanying

 securities litigation generally, such as the fact that this Action is governed by stringent PSLRA

 requirements and case law interpreting the federal securities laws and was undertaken on a

 contingent-fee basis. From the outset, Lead Counsel understood that this would be a complex,

 expensive, and potentially lengthy litigation with no guarantee of ever being compensated for the

 substantial investment of time and financial expenditures that vigorous prosecution of the case

 would require. In undertaking that responsibility, Lead Counsel were obligated to ensure that

 sufficient resources (in terms of attorney and support-staff time) were dedicated to prosecuting the

 Action, and that funds were available to compensate vendors and consultants and to cover the

 considerable out-of-pocket costs that a case like this typically demands. With an average lag time

 of several years for these cases to conclude, the financial burden on contingent-fee counsel is far

 greater than on a firm that is paid on an hourly, ongoing basis. Lead Counsel alone have dedicated

 nearly 38,000 hours in prosecuting this Action for the benefit of the Settlement Class, yet have

 received no compensation for their efforts.



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        107.    Lead Counsel also bore the risk that no recovery would be achieved. Lead Counsel

 are aware that despite the most vigorous and competent efforts, a law firm’s success in contingent

 litigation such as this is never guaranteed. Moreover, it takes hard work and diligence by skilled

 counsel to develop the facts and theories that are needed to sustain a complaint or win at trial, or

 to persuade sophisticated defendants to engage in serious settlement negotiations at meaningful

 levels. Lead Counsel are aware of many hard-fought lawsuits in which, because of the discovery

 of facts unknown when the case commenced, or changes in the law during the pendency of the

 case, or a decision of a judge or jury following a trial on the merits, excellent professional efforts

 by a plaintiff’s counsel produced no fee for counsel.

        108.    The United States Supreme Court and numerous other courts have repeatedly

 recognized that the public has a strong interest in having experienced and able counsel enforce the

 federal securities laws through private actions. See, e.g., Bateman Eichler, Hill Richards, Inc. v.

 Berner, 472 U.S. 299, 310 (1985) (private securities actions provide ‘“a most effective weapon in

 the enforcement’ of the securities laws and are a ‘necessary supplement to [SEC] action.’”)

 (citations omitted); see also Fee Memorandum, § I. Vigorous private enforcement of the federal

 securities laws can only occur if private investors can obtain some parity in representation with

 that available to large corporate defendants. If this important public policy is to be carried out,

 courts should award fees that adequately compensate plaintiffs’ counsel, taking into account the

 risks undertaken in prosecuting a securities class action as well as the economics involved.

        109.    Plaintiffs’ Counsel’s efforts, in the face of substantial risks and uncertainties, have

 resulted in what Lead Counsel believe to be a significant and certain recovery for the Settlement

 Class. In these circumstances, and in consideration of Plaintiffs’ Counsel’s hard work and the




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 favorable result achieved, Lead Counsel believe the 23.8% fee request is fair and reasonable and

 should be approved.

                3.      The Time and Labor Devoted to the Action by Plaintiffs’ Counsel

        110.    Lead Counsel and the other Plaintiffs’ Counsel firms devoted substantial time to

 the prosecution of the Action. As more fully described above, Lead Counsel: (i) conducted an

 exhaustive investigation into the Settlement Class’s claims; (ii) monitored various investigations

 and related litigation involving Allergan; (iii) researched and prepared two detailed complaints,

 including the operative Second Amended Complaint; (iv) opposed two motions to dismiss; (v)

 served document requests, requests for admission, and interrogatories on Defendants, as well as

 subpoenas on approximately fifty third parties, and engaged in numerous meet and confers

 regarding the scope of the discovery requested and the objections thereto; (vi) reviewed and

 analyzed the resulting productions of more than 2.6 million pages of documents; (vii) responded

 to Defendants’ document requests, requests for admissions, and interrogatories; (viii) prepared and

 defended the depositions of both Lead Plaintiffs; (ix) prepared for and took twenty fact witness

 depositions and one expert deposition and defended the deposition of Lead Plaintiffs’ expert; (x)

 consulted with various experts and consultants, including a consultant on antitrust matters; (xi)

 moved for class certification; and (xii) prepared for and engaged in settlement negotiations with

 Defendants, including a formal mediation session facilitated by Judge Phillips. See supra ¶¶ 20-

 61. Here, Lead Counsel’s efforts were driven and focused on advancing the litigation to achieve

 the most successful outcome for the Settlement Class, whether through settlement or trial, by the

 most efficient means possible.

        111.    Throughout the litigation, Lead Counsel maintained an appropriate level of staffing

 that avoided unnecessary duplication of effort and ensured the efficient prosecution of this Action.

 As the lead partners on the case, we personally monitored and maintained control of the work


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 performed by other lawyers at Kessler Topaz and Bernstein Litowitz throughout the litigation.

 Other experienced attorneys at Lead Counsel were also involved in the drafting of pleadings,

 motion papers, and in the settlement negotiations. More junior attorneys and paralegals worked on

 matters appropriate to their skill and experience level.

         112.    The time devoted to this Action by Plaintiffs’ Counsel is set forth in the Fee and

 Expense Declarations attached hereto as Exhibits 6A through 6E. Included with the Fee and

 Expense Declarations are schedules that summarize the time expended by the attorneys and

 professional support staff employees at each firm, as well as expenses (“Fee and Expense

 Schedules”). The Fee and Expense Schedules report the amount of time spent by each attorney

 and professional support staff employee who worked on the Action and their resulting “lodestar,”

 i.e., their hours multiplied by their hourly rates.

         113.    The hourly rates of Plaintiffs’ Counsel here range from $700 to $1,300 per hour for

 partners, $350 to $925 per hour for other attorneys, $225 to $400 per hour for paralegals and law

 clerks, and $275 to $500 per hour for in-house investigators. See Kessler Topaz Fee and Expense

 Decl., Ex. 1; Bernstein Litowitz Fee and Expense Decl., Ex. 1; Carella Byrne Fee and Expense

 Decl., Ex. 1; Rosen Fee and Expense Decl., Ex. 1; and Motley Rice Fee and Expense Decl., Ex. 1.

 These hourly rates are reasonable for this type of complex litigation.

         114.    In total, from the inception of this Action through October 6, 2021, Plaintiffs’

 Counsel expended over 38,971 hours on the investigation, prosecution, and resolution of the claims

 against Defendants for a total lodestar of $18,852,455.25.27 Thus, pursuant to a lodestar “cross-


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   Lead Counsel will continue to perform legal work on behalf of the Settlement Class should the
 Court approve the Settlement. Additional resources will be expended assisting Settlement Class
 Members with their Claim Forms and related inquiries and working with the Claims Administrator,
 A.B. Data, to ensure the smooth progression of claims processing. No additional legal fees will be
 sought for this work.


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 check,” Lead Counsel’s fee request of 23.8% of the Settlement Fund (or $30,940,000 plus interest),

 if awarded, would yield a multiplier of approximately 1.64 on Plaintiffs’ Counsel’ lodestar, which

 falls well within the range of fee multipliers typically awarded in comparable securities class

 actions and in other class actions involving significant contingency fee risk, in this Circuit and

 elsewhere. See Fee Memorandum, § III.B.

                4.      The Quality of Plaintiffs’ Counsel’s Representation

        115.    The skill and diligence of Plaintiffs’ Counsel also supports the requested fee. As

 demonstrated by the firm résumés included as Exhibits 4 and 3 to the Kessler Topaz Fee and

 Expense Decl. and the Bernstein Litowitz Fee and Expense Decl., respectively, Lead Counsel

 Kessler Topaz and Bernstein Litowitz are among the most experienced and skilled law firms in

 the securities litigation field, with a long and successful track record representing investors in such

 cases, and are consistently ranked among the top plaintiffs firms in the country. The other

 Plaintiffs’ Counsel’s firms are also highly experienced in complex litigation. See Carella Byrne

 Fee and Expense Decl., Ex. 3; Rosen Fee and Expense Decl., Ex. 3; Motley Rice Fee and Expense

 Decl., Ex. 3. The substantial result achieved for the Settlement Class here reflects the superior

 quality of this representation.

        116.    The quality of the work performed by Plaintiffs’ Counsel in obtaining the

 Settlement should also be evaluated in light of the quality of opposing counsel. Defendants in this

 case were represented by experienced counsel from the nationally prominent litigation firm Quinn

 Emanuel Urquhart & Sullivan, LLP. This firm vigorously and ably defended the Action for over

 four years. In the face of this formidable defense, Lead Counsel were nonetheless able to develop

 a case that was sufficiently strong to persuade Defendants to settle the Action on terms that are

 favorable to the Settlement Class.




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                5.      Lead Plaintiffs’ Endorsement of the Fee Application

        117.    Lead Plaintiffs AP7 and Union are sophisticated institutional investors that have

 closely supervised, monitored, and actively participated in the prosecution and settlement of the

 Action. Lead Plaintiffs have evaluated and fully support Lead Counsel’s fee request. The 23.8%

 fee request is also authorized by and made pursuant to agreements made between Lead Plaintiffs

 and Lead Counsel. As set forth in the declarations submitted on behalf of AP7 and Union, Lead

 Plaintiffs have concluded that the requested fee has been earned based on the efforts of Plaintiffs’

 Counsel and the favorable recovery obtained for the Settlement Class in a case that involved

 serious risk. See Gröttheim Decl., ¶¶ 11-13; Riechwald Decl., ¶¶ 11-13. Accordingly, Lead

 Plaintiffs’ endorsement of Lead Counsel’s fee request further demonstrates its reasonableness and

 this endorsement should be given meaningful weight in the Court’s consideration of the fee award.

        B.      Lead Counsel’s Request for Litigation Expenses Warrants Approval

                1.      Lead Counsel Seek Reimbursement of Plaintiffs’ Counsel’s
                        Reasonable and Necessary Litigation Expenses from the Settlement
                        Fund

        118.    Lead Counsel seek payment from the Settlement Fund of $2,473,243.51 for

 expenses that were reasonably and necessarily incurred by Plaintiffs’ Counsel in connection with

 the Action. The Notice informs the Settlement Class that Lead Counsel will apply for payment of

 Litigation Expenses in an amount not to exceed $4,000,000, which amount may include an

 application for reimbursement of the reasonable costs and expenses incurred by Lead Plaintiffs

 directly related to their representation of the Settlement Class in accordance with 15 U.S.C. § 78u-

 4(a)(4). The amount of Litigation Expenses requested by Lead Counsel, along with the aggregate

 amount requested by Lead Plaintiffs (i.e., $84,850.00), is substantially below the maximum

 expense amount set forth in the Notice.




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        119.    From the inception of this Action, Plaintiffs’ Counsel were aware that they might

 not recover any of the expenses they incurred in prosecuting the claims against Defendants and, at

 a minimum, would not recover any expenses until the Action was successfully resolved. Plaintiffs’

 Counsel also understood that, even assuming the Action was ultimately successful, an award of

 expenses would not compensate counsel for the lost use or opportunity costs of funds advanced to

 prosecute the claims against Defendants. Plaintiffs’ Counsel were motivated to, and did, take

 appropriate steps to avoid incurring unnecessary expenses and to minimize costs without

 compromising the vigorous and efficient prosecution of the Action.

        120.    Lead Counsel maintained strict control over the expenses in this Action. Indeed,

 many of the expenses incurred were paid out of a litigation fund created by Lead Counsel and

 maintained by Kessler Topaz (“Litigation Fund”). Kessler Topaz and Bernstein Litowitz

 collectively contributed $800,000.00 to the Litigation Fund. A description of the payments from

 the Litigation Fund by category is included in the individual firm declaration submitted on behalf

 of Kessler Topaz. See Kessler Topaz Fee and Expense Decl., ¶ 11, Ex. 3. Currently, a balance of

 $708.09 remains in the Litigation Fund. This amount has been credited to Kessler Topaz and

 removed from its expense request so as to avoid any double counting of expenditures. See Id.

        121.    Plaintiffs’ Counsel’s expenses are summarized in Exhibit 7 hereto, which identifies

 each category of expense and the amount incurred for each category. Plaintiffs’ Counsel’s

 expenses include charges for, among other things: (i) experts and consultants in connection with

 various stages of the litigation; (ii) establishing and maintaining a database to house the documents

 produced in discovery; (iii) deposition-related expenses; (iv) online factual and legal research; (v)




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 mediation; and (vi) document reproduction.28 Courts have consistently found that these kinds of

 expenses are payable from a fund recovered by counsel for the benefit of a class.

         122.    The largest component of Plaintiffs’ Counsel’s expenses (i.e., $2,058,245.65, or

 approximately 83% of their total expenses) was incurred for experts and consultants. As noted

 above, Lead Counsel consulted with experts in the fields of antitrust and securities economics

 during their investigation and the preparation of the First and Second Amended Complaints, in

 preparation for mediation, and in connection with the development of the proposed Plan of

 Allocation. See supra ¶¶ 46-48. These experts and consultants were essential to the prosecution of

 the Action.

         123.    The next largest expense (i.e., $151,942.72, or approximately 6% of Plaintiffs’

 Counsel’s total expenses) was incurred for legal and factual research. This amount includes

 charges for computerized research services such as Lexis, Westlaw, and PACER. It is standard

 practice for attorneys to use online services to assist them in researching legal and factual issues,

 and indeed, courts recognize that these tools create efficiencies in litigation and ultimately save

 money for clients and the class. This amount also includes charges for data obtained from

 information analytics companies. This data provided pricing and sales volume information for the

 generic drugs subject to discovery and was analyzed by Lead Plaintiffs’ experts during the course

 of the litigation.




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    Plaintiffs’ Counsel’s expenses are listed in detail in their firm’s respective declarations. See
 Exhibits 6A through 6E. As set forth in the firms’ Fee and Expense Declarations, the expenses
 incurred by each Plaintiffs’ Counsel’s firm are reflected on the books and records maintained by
 the firm. These books and records are prepared from expense vouchers, check records, and other
 source materials, and are an accurate record of the expenses incurred. These expense items are
 billed separately and are not duplicated in each firm’s hourly rates.


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        124.    Plaintiffs’ Counsel also incurred a total of $127,256.30 for document hosting and

 management/litigation support. In addition, Lead Counsel incurred $38,821.25 for charges related

 to mediation with Judge Phillips.

        125.    The other expenses for which Lead Counsel seek payment are the types of expenses

 that are necessarily incurred in litigation and routinely charged to clients billed by the hour. These

 expenses include, among others, court fees, telephone costs, copying, and postage and delivery

 expenses. All of the litigation expenses incurred by Plaintiffs’ Counsel were reasonable and

 necessary to the successful litigation of the Action, and have been approved by Lead Plaintiffs.

 See Gröttheim Decl., ¶ 12; Riechwald Decl., ¶ 12.

                2.      Reimbursement to Lead Plaintiffs Is Fair and Reasonable

        126.    The PSLRA specifically provides that an “award of reasonable costs and expenses

 (including lost wages) directly relating to the representation of the class” may be made to “any

 representative party serving on behalf of a class.” 15 U.S.C. § 78u-4(a)(4). Accordingly, Lead

 Plaintiffs seek reimbursement of their reasonable costs incurred directly for their work

 representing the Settlement Class in the aggregate amount of $84,850.00. Specifically, AP7 seeks

 reimbursement of $13,600.00 for 40 hours expended in connection with the Action by its Chief

 Executive Officer (see Gröttheim Decl., ¶¶ 14-16), and Union seeks reimbursement of $71,250.00

 for 190 hours expensed in connection with the Action by its General Counsel, Assistant General

 Counsel, a Senior Legal Counsel, and two members of its information technology group who

 assisting Union in its document collection efforts (see Riechwald Decl., ¶¶ 14-16).

        127.    As discussed in the Fee Memorandum and in Lead Plaintiffs’ supporting

 declarations, AP7 and Union have been fully committed to pursuing the Settlement Class’s claims

 since they became involved in the litigation. Both AP7 and Union have provided valuable

 assistance to Lead Counsel during the prosecution and resolution of the Action. Moreover, the


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 efforts expended by Lead Plaintiffs during the course of this Action, as set forth in the Gröttheim

 Decl., ¶¶ 7-9 and the Riechwald Decl., ¶¶ 7-9, including communicating with Lead Counsel,

 reviewing pleadings and motion papers, gathering and reviewing documents in response to

 discovery requests, preparing for deposition and being deposed, and participating in the settlement

 negotiations, are precisely the types of activities courts have found to support reimbursement to

 class representatives, and fully support the request for reimbursement here.

 IX.    MISCELLANEOUS EXHIBITS

        128.      Attached to this Joint Declaration are copies of the following documents cited in

 the Fee Memorandum:

        (a)       Exhibit 11: Unreported Order Awarding Plaintiffs’ Counsel Attorneys’ Fees and

  Litigation Expenses, Alaska Electrical Pension Fund v. Pharmacia Corp., Case No. 3:03-cv-

  01519-AET-TJB (D.N.J. Jan. 30, 2013) (ECF No. 405);

        (b)       Exhibit 12: Unreported Order Awarding Attorneys’ Fees and Litigation Expenses,

  In re Snap Inc. Sec. Litig., Case No. 2:17-cv-03679-SVW-AGR (C.D. Cal. Mar. 9, 2021) (ECF

  No. 400); and

        (c)       Exhibit 13: Unreported Order Awarding Attorneys’ Fees and Litigation Expenses,

  In re Brocade Sec. Litig., Case No. 3:05-cv-02042-CRB (N.D. Cal. Jan. 26, 2009) (ECF No. 496).

 X.     CONCLUSION

        129.      For all the reasons set forth above, Lead Counsel respectfully submit that the

 Settlement and the Plan of Allocation should be approved as fair, reasonable, and adequate. Lead

 Counsel further submit that the requested fee in the amount of 23.8% of the Settlement Fund should

 be approved as fair and reasonable, and the request for Plaintiffs’ Counsel’s Litigation Expenses

 in the amount of $2,473,243.51, and Lead Plaintiffs’ costs in the aggregate amount of $84,850.00,

 should also be approved.


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       130.   We declare, under penalty of perjury, that the foregoing is true and correct.


       Executed in Radnor, Pennsylvania this 13th day of October 2021.



                                     ___________________________
                                     Matthew L. Mustokoff


       Executed in New York, New York this 13th day of October 2021.




                                     ___________________________
                                     John C. Browne




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                                CERTIFICATION OF SERVICE

        I hereby certify that on October 13, 2021, I caused a true and correct copy of the foregoing

 Joint Declaration of Matthew L. Mustokoff and John C. Browne in Support of (A) Lead Plaintiffs’

 Motion for Final Approval of Settlement and Plan of Allocation; and (B) Lead Counsel’s Motion

 for an Award of Attorneys’ Fees and Litigation Expenses to be electronically filed with the Clerk

 of the Court using the ECF system. Notice of this filing will be sent to counsel of record by

 operation of the Court’s electronic filing system.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge.

 Dated: October 13, 2021                       s/ James E. Cecchi
                                               James E. Cecchi
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                                               the Settlement Class




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